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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

J.G.,                                       :
                                            :
        Plaintiff,                          :
                                            :      CIVIL ACTION FILE
v.                                          :
                                            :      NO. 1:20-cv-05233-SEG
NORTHBROOK INDUSTRIES,                      :
INC., d/b/a UNITED INN AND                  :
SUITES,                                     :
                                            :
        Defendant.                          :

               PROPOSED CONSOLIDATED PRETRIAL ORDER
        Plaintiff J.G. and Defendant Northbrook Industries, Inc. d/b/a United Inn &

Suites, by and through their undersigned counsel, hereby submit this proposed

consolidated pretrial order.     The parties reserve the right to submit supplemental

pretrial orders up to the pre-trial conference as the parties continue trial preparations.

                                           1.

There are no motions or other matters pending for consideration by the court
except as noted:

        The parties’ opposed Daubert motions are pending for consideration by the

Court. The Daubert motions, and the experts to whom the motions relate, are on the

docket at the below locations:

     • Naeshia McDowell (ECF Nos. 99, 119, 125)


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   • Darrell Chaneyfield (ECF Nos. 100, 118, 124)

   • Karim Vellani (ECF No. 109, 117, 129)

      The parties’ opposed motions in limine are pending for consideration by the

Court at the below locations:

   • Plaintiff’s Motions in Limine (ECF Nos. 161, 165, 173)

   • Defendant’s Motions in Limine (ECF Nos. 160, 167, 172)

      Defendant’s opposed Rule 412 motion is pending for consideration by the

Court at the below location:

   • Defendant’s Rule 412 Motion (ECF No. 175, 176, 178)

      The parties’ trial briefs are pending for consideration by the Court at the

below locations:

   • Plaintiff’s Trial Brief (ECF No. 188)

   • Defendant’s Trial Brief (ECF No. 187)

      Plaintiff intends to file a motion for protective order to permit Plaintiff to be

referred to by her first name during trial. Defendant does not intend to oppose this

motion.

                                          2.

      All discovery has been completed, unless otherwise noted, and the court
will not consider any further motions to compel discovery. (Refer to LR 37.1B).
Provided there is no resulting delay in readiness for trial, the parties shall,
however, be permitted to take the depositions of any persons for the
preservation of evidence and for use at trial.

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      Pursuant to agreement, the parties will cooperate to schedule trial depositions,

if any, subject to the limitation articulated in the preceding paragraph.

                                          3.

       Unless otherwise noted, the names of the parties as shown in the caption
to this Order and the capacity in which they appear are correct and complete,
and there is no question by any party as to the misjoinder or non-joinder of any
parties.

      The parties are correctly identified.

                                          4.

      Unless otherwise noted, there is no question as to the jurisdiction of the
court; jurisdiction is based upon the following code sections. (When there are
multiple claims, list each claim and its jurisdictional basis separately.)

      This Court has subject matter jurisdiction over this lawsuit pursuant to 28

U.S.C. § 1331 because Plaintiffs assert claims arising under 18 U.S.C. § 1595(a).

                                          5.

      The following individually-named attorneys are hereby designated as
lead counsel for the parties:

Plaintiff:
David H. Bouchard
Georgia Bar No. 712859
david@finchmccranie.com
Finch McCranie, LLP
229 Peachtree St. NE, Suite 2500
Atlanta, GA 30303

Defendants:


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Dana M. Richens
Georgia Bar No. 604429
drichens@sgrlaw.com
Smith, Gambrell & Russell, LLP
1105 West Peachtree Street N.E.
Suite 1000
Atlanta, Georgia 30309

Other parties:

      None

                                         6.

      Normally, the plaintiff is entitled to open and close arguments to the jury.
(Refer to LR39.3(B)(2)(b)). State below the reasons, if any, why the plaintiff
should not be permitted to open arguments to the jury.

      None.

                                         7.

      The captioned case shall be tried ( X ) to a jury or (_____) to the court

without a jury, or (_____) the right to trial by jury is disputed.

                                         8.

      State whether the parties request that the trial to a jury be bifurcated, i.e.
that the same jury consider separately issues such as liability and damages.
State briefly the reasons why trial should or should not be bifurcated.

      Plaintiff requests a bifurcated trial under Fed. R. Civ. P. 42(b) and Fed. R.

Evid. 611, with the first phase concerning liability and compensatory damages, and

the second phase concerning punitive damages. The trial should be bifurcated for

efficiency, economy, and the orderly presentation of evidence.


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         Defendant does not concede that Plaintiff is entitled to pursue a claim of

punitive damages. If the Court determines that Plaintiff may pursue such a claim,

then Defendant requests that the Court follow the procedure set forth in O.C.G.A. §

51-12-5.1(d)—that is, the trier of fact shall first resolve from the evidence produced

at trial whether an award of punitive damages shall be made, as indicated in an

appropriate form of verdict. If it is found that punitive damages are to be awarded,

then the trial shall immediately be recommenced in order to receive evidence on that

issue.

                                          9.

       Attached hereto as Attachment “A” and made a part of this order by
reference are the questions which the parties request that the court propound
to the jurors concerning their legal qualifications to serve.

         See Attachment “A” concerning proposed joint jury questionnaire.

                                         10.

      Attached hereto as Attachment “B-1” are the general questions which
plaintiff wishes to be propounded to the jurors on voir dire examination.
Attached hereto as Attachment “B-2” are the general questions which
defendant wishes to be propounded to the jurors on voir dire examination.
Attached hereto as Attachment “B-3”, “B-4”, etc. are the general questions
which the remaining parties, if any, wish to be propounded to the jurors on voir
dire examination. The court, shall question the prospective jurors as to their
address and occupation and as to the occupation of a spouse, if any. Counsel
may be permitted to ask follow-up questions on these matters. It shall not,
therefore, be necessary for counsel to submit questions regarding these matters.
The determination of whether the judge or counsel will propound general voir
dire questions is a matter of courtroom policy which shall be established by each
judge.


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      See Attachments “B-1” and “B-2.”

                                         11.

State any objections to plaintiff’s voir dire questions: See below.

State any objections to defendant’s voir dire questions: See below.

State any objections to the voir dire questions of the other parties, if any:

      The parties have conferred and made a good-faith effort to resolve objections.

Where the parties were unable to agree, the parties have indicated the same in

Attachments “B-1” and “B-2” by incorporating objections in bold beneath the

subject voir dire question.


                                         12.

      All civil cases to be tried wholly or in part by jury shall be tried before a
jury consisting of not less than six (6) members, unless the parties stipulate
otherwise. The parties must state in the space provided below the basis for any
requests for additional strikes. Unless otherwise directed herein, each side as a
group will be allowed the number of peremptory challenges as provided by 28
U.S.C. § 1870. See Fed.R.Civ.P. 47(b).

      Given the potentially sensitive nature of the subject matter of the lawsuit,

which may involve discussion of sex trafficking, including physical violence, sexual

violence, and sexual trauma, the parties propose a larger panel of 30 potential jurors

with each side being entitled to 4 peremptory strikes.

      Furthermore, given the nature of the facts at issue, the parties also propose

that the jurors complete a questionnaire in advance of voir dire. A questionnaire


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permits jurors to disclose sensitive information in a more discreet manner than if

questions were posed in open court. The parties have conferred and prepared a joint

questionnaire—see Attachment “A.”

                                         13.

      State whether there is any pending related litigation. Describe briefly,
including style and civil action number.

Plaintiffs’ position:

          1. The matter Northfield Insurance Company v. Northbrook Industries,

             Inc., d/b/a United Inn and Suites, and J.G. (Case No. 1:23-cv-03596-

             SEG) is now pending before the Court. The case concerns Northfield

             Insurance Company’s Complaint for Declaratory Judgment relating to

             an insurance policy in effect at United Inn and Suites at the time J.G.

             was sex trafficked at the hotel.

          2. The matters A.G. v. Northbrook Industries, Inc., d/b/a United Inn and

             Suites (Case No. 1:20-cv-05231-JPB) and G.W. v. Northbrook

             Industries, Inc., d/b/a United Inn and Suites (Case No. 1:20-cv-05232-

             JPB). The A.G. and G.W. cases involve legal claims arising from minor

             sex trafficking at United Inn & Suites in 2017, the year before J.G. was

             trafficked at United Inn & Suites. Judge Boulee granted summary

             judgment, and his orders are the subject of pending appeals to the

             Eleventh Circuit.

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Defendants’ position:

      Defendant notes that Judge Boulee granted summary judgment to Northbrook

in the above-referenced A.G. and G.W. matters. Further, Defendant does not

concede that the facts relating to those matters are relevant here.

                                         14.

       Attached hereto as Attachment “C” is plaintiff’s outline of the case which
includes a succinct factual summary of plaintiff’s cause of action and which
shall be neither argumentative nor recite evidence. All relevant rules,
regulations, statutes, ordinances, and illustrative case law creating a specific
legal duty relied upon by plaintiff shall be listed under a separate heading. In
negligence cases, each and every act of negligence relied upon shall be
separately listed. For each item of damage claimed, plaintiff shall separately
provide the following information: (a) a brief description of the item claimed,
for example, pain and suffering; (b) the dollar amount claimed; and (c) a
citation to the law, rule, regulation, or any decision authorizing a recovery for
that particular item of damage. Items of damage not identified in this manner
shall not be recoverable.

                                         15.

       Attached hereto as Attachment “D” is the defendant’s outline of the case
which includes a succinct factual summary of all general, special, and
affirmative defenses relied upon and which shall be neither argumentative nor
recite evidence. All relevant rules, regulations, statutes, ordinances, and
illustrative case law relied upon as creating a defense shall be listed under a
separate heading. For any counterclaim, the defendant shall separately provide
the following information for each item of damage claimed: (a) a brief
description of the item claimed; (b) the dollar amount claimed; and (c) a citation
to the law, rule, regulation, or any decision authorizing a recovery for that
particular item of damage. Items of damage not identified in this manner shall
not be recoverable.




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                                        16.

      Attached hereto as Attachment “E” are the facts stipulated by the parties.
No further evidence will be required as to the facts contained in the stipulation
and the stipulation may be read into evidence at the beginning of the trial or at
such other time as is appropriate in the trial of the case. It is the duty of counsel
to cooperate fully with each other to identify all undisputed facts. A refusal to
do so may result in the imposition of sanctions upon the noncooperating
counsel.

      See Attachment “E.”

                                        17.

      The legal issues to be tried are as follows:

By Plaintiffs:

        (1) Whether Defendant United Inn & Suites is liable to Plaintiff under the
            TVPRA, 18 U.S.C. § 1595(a).
        (2) Whether Defendant United Inn & Suites’s acts or omissions were the
            proximate cause of Plaintiff’s injuries or damages.

        (3) Whether Defendant United Inn & Suites is liable to Plaintiff for
            damages, and the amount of such damages, including general damages,
            compensatory damages, economic damages, non-economic damages,
            consequential damages, and punitive damages.
        (4) Whether Defendant United Inn & Suites is liable to Plaintiff for costs,
            expenses, and reasonable attorneys’ fees, including fees pursuant to the
            18 U.S.C. § 1595(a), O.C.G.A. § 13-6-11, and/or O.C.G.A. §9-11-
            68(e), and any other fee-shifting statute.
        (5) Whether the default federal common law rule of joint and several
            liability applies to Plaintiff’s claims under 18 U.S.C. § 1595(a), a
            federal statute.
        (6) Whether Plaintiff is entitled to punitive damages against Defendant
            under 18 U.S.C. § 1595(a).


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       (7) Any additional legal issues raised by any affirmative defenses or
           counterclaims Defendant may assert.

       (8) Legal issues addressed in Plaintiff’s trial brief and motions in limine
           briefing.

By Defendants:

     (1) Whether Plaintiff is a victim of a violation of Chapter 77 of the United
     States Code Annotated.

     (2) Whether Northbrook knowingly benefited, as such term is used in 18
     U.S.C. § 1595(a).

     (3) Whether Northbrook participated in a venture, as such term is used in 18
     U.S.C. § 1595(a).

     (4) Whether the alleged venture violated the TVPRA as to Plaintiff.

     (5) Whether Northbrook knew or should have known that the alleged venture
     violated the TVPRA as to Plaintiff.

     (6) Whether alleged knowledge, acts or omissions of Northbrook’s employees
     are imputable to Northbrook.

     (7) Whether Northbrook’s acts or omissions were the cause in fact and
     proximate cause of Plaintiff’s injuries or damages.

     (8) Whether Plaintiff’s injuries or damages were caused, in whole or in part,
     by pre-existing and subsequent conditions and events unrelated to the subject
     matter of this case.

     (9) Whether the injury or damage to Plaintiff was caused by the conduct of
     persons other than Northbrook.

     (10) Whether Plaintiff’s own acts or omissions caused or contributed to her
     injury and damages.

     (11) The amount of damages, if any, to which Plaintiff is entitled.


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      (12) Whether damages, if any, to which Plaintiff is entitled are subject to
      apportionment pursuant to federal law and/or O.C.G.A. § 51-12-33.

      (13) Whether Plaintiff is entitled to an award of punitive damages, and, if so,
      the amount of such damages.

      (14) Whether Plaintiff is entitled to an award of attorneys’ fees and, if so, in
      what amount.


                                         18.

      Attached hereto as Attachment “F-1” for the plaintiff, Attachment “F-2”
for the defendant, and Attachment “F-3”, etc. for all other parties is a list of all
the witnesses and their addresses for each party. The list must designate the
witnesses whom the party will have present at trial and those witnesses whom
the party may have present at trial. Expert (any witness who might express an
opinion under Rule 702), impeachment and rebuttal witnesses whose use as a
witness can be reasonably anticipated must be included. Each party shall also
attach to the list a reasonable specific summary of the expected testimony of
each expert witness. All of the other parties may rely upon a representation by
a designated party that a witness will be present unless notice to the contrary is
given ten (10) days prior to trial to allow the other party(s) to subpoena the
witness or to obtain the witness’ testimony by other means. Witnesses who are
not included on the witness list (including expert, impeachment and rebuttal
witnesses whose use should have been reasonably anticipated) will not be
permitted to testify, unless expressly authorized by court order based upon a
showing that the failure to comply was justified.

      See Attachments “F-1” and “F-2.”


                                         19.

       Attached hereto as Attachment “G-1” for the plaintiff, “G-2” for the
defendant, and “G3”, etc. for all other parties are the typed lists of all
documentary and physical evidence that will be tendered at trial. Learned
treatises which are expected to be used at trial shall not be admitted as exhibits.
Counsel are required, however, to identify all such treatises under a separate
heading on the party’s exhibit list.

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       Each party’s exhibits shall be numbered serially, beginning with 1, and
without the inclusion of any alphabetical or numerical subparts. Adequate
space must be left on the left margin of each party’s exhibit list for court
stamping purposes. A courtesy copy of each party’s list must be submitted for
use by the judge.
       Prior to trial, counsel shall mark the exhibits as numbered on the
attached lists by affixing numbered yellow stickers to plaintiff’s exhibits,
numbered blue stickers to defendant’s exhibits, and numbered white stickers to
joint exhibits. When there are multiple plaintiffs or defendants, the surname
of the particular plaintiff or defendant shall be shown above the number on the
stickers for that party’s exhibits. Specific objections to another party’s exhibits
must be typed on a separate page and must be attached to the exhibit list of the
party against whom the objections are raised. Objections as to authenticity,
privilege, competency, and, to the extent possible, relevancy of the exhibits shall
be included. Any listed document to which an objection is not raised shall be
deemed to have been stipulated as to authenticity by the parties and shall be
admitted at trial without further proof of authenticity. Unless otherwise noted,
copies rather than originals of documentary evidence may be used at trial.
Documentary or physical exhibits may not be submitted by counsel after filing
of the pretrial order, except upon consent of all the parties or permission of the
court. Exhibits so admitted must be numbered, inspected by counsel, and
marked with stickers prior to trial.
       Counsel shall familiarize themselves with all exhibits (and the numbering
thereof) prior to trial. Counsel will not be afforded time during trial to examine
exhibits that are or should have been listed.

      The parties have prepared and exchanged exhibit lists and objections. The

parties are conferring in good faith to resolve as many objections as possible in

advance of the pre-trial conference and to formalize stipulations as to evidentiary

issues. Some of the objections may be resolved by this Court’s rulings on motions

in limine. The parties intend to submit exhibit lists to the Court prior to the pre-trial

conference.




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                                        20.

     The following designated portions of the testimony of the persons listed
below may be introduced by deposition:

      Plaintiff has identified for Defendant the portions of United Inn’s 30(b)(6)

deposition testimony that Plaintiff may use at trial. Defendant is reviewing those

portions for objections and counter-designations.

      Any objections to the depositions of the foregoing persons or to any
questions or answers in the depositions shall be filed in writing no later than the
day the case is first scheduled for trial. Objections not perfected in this manner
will be deemed waived or abandoned. All depositions shall be reviewed by
counsel and all extraneous and unnecessary matter, including non-essential
colloquy of counsel, shall be deleted. Depositions, whether preserved by
stenographic means or videotape, shall not go out with the jury.


                                        21.

       Attached hereto as Attachments “H-1” for the plaintiff, “H-2” for the
defendant, and “H-3”, etc. for other parties, are any trial briefs which counsel
may wish to file containing citations to legal authority concerning evidentiary
questions and any other legal issues which counsel anticipate will arise during
the trial of the case. Limitations, if any, regarding the format and length of trial
briefs is a matter of individual practice which shall be established by each
judge.

      See Attachments “H-1” and “H-2.”

                                        22.

      In the event this is a case designated for trial to the court with a jury,
requests for charge must be submitted no later than 9:30 a.m. on the date on
which the case is calendared (or specially set) for trial. Requests which are not
timely filed and which are not otherwise in compliance with LR 51.1, will not
be considered. In addition, each party should attach to the requests to charge
a short (not more than one (1) page) statement of that party’s contentions,

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covering both claims and defenses, which the court may use in its charge to the
jury.
      Counsel are directed to refer to the latest edition of the Eleventh Circuit
District Judges Association’s Pattern Jury Instructions and Devitt and
Blackmar’s Federal Jury Practice and Instructions in preparing the requests to
charge. For those issues not covered by the Pattern Instructions or Devitt and
Blackmar, counsel are directed to extract the applicable legal principle (with
minimum verbiage) from each cited authority.

       The parties are working in good faith to prepare requests to charge and will

submit them “no later than 9:30 a.m. on the date on which the case is calendared (or

specially set) for trial,” as set forth above.


                                            23.

       If counsel desire for the case to be submitted to the jury in a manner other
than upon a general verdict, the form of submission agreed to by all counsel
shall be shown in Attachment “I” to this Pretrial Order. If counsel cannot agree
on a special form of submission, parties will propose their separate forms for
the consideration of the court.

       The parties have attached hereto as Exhibits “I-1” and “I-2” their respective

proposed verdict forms.

                                            24.

      Unless otherwise authorized by the court, arguments in all jury cases
shall be limited to one-half hour for each side. Should any party desire any
additional time for argument, the request should be noted (and explained)
herein.

       The parties request that they be permitted up to 30 minutes for opening

statements and up to 40 minutes for closing arguments.



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                                        25.

      If the case is designated for trial to the court without a jury, counsel are
directed to submit proposed finding of fact and conclusions of law not later than
the opening of trial.
                                        26.

       Pursuant to LR 16.3, lead counsel and persons possessing settlement
authority to bind the parties met in person on March 14, 2023, and plan to meet
again on May 13, 2024, to discuss in good faith the possibility of settlement of
this case. The court (__X___) has or (____) has not discussed settlement of this
case with counsel. It appears at this time that there is: (_____) A good possibility
of settlement. (_____) Some possibility of settlement. (__X__) Little possibility
of settlement. (_____) No possibility of settlement.

                                        27.

      Unless otherwise noted, the court will not consider this case for a special
setting, and it will be scheduled by the clerk in accordance with the normal
practice of the court.

                                          28.
The plaintiff estimates that she will need approximately 3 days to present her
evidence. The defendant estimates that it will require approximately 2 days to
present its evidence. It is estimated that the total trial time is 5-6 days.


                                        29.

IT IS HEREBY ORDERED that the above constitutes the pretrial order for the
above captioned case (_____) submitted by stipulation of the parties or (_____)
approved by the court after conference with the parties.

       IT IS FURTHER ORDERED that the foregoing, including the
attachments thereto, constitutes the pretrial order in the above case and that it
supersedes the pleadings which are hereby amended to conform hereto and that
this pretrial order shall not be amended except by Order of the court to prevent
manifest injustice. Any attempt to reserve a right to amend or add to any part
of the pretrial order after the pretrial order has been filed shall be invalid and
of no effect and shall not be binding upon any party or the court, unless

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specifically authorized in writing by the court. IT IS SO ORDERED this
______________ day of ______________________, 20_____.



                                        __________________________________
                                        UNITED STATES DISTRICT JUDGE


Each of the undersigned counsel for the parties hereby consents to entry of the

foregoing pretrial order, which has been prepared in accordance with the form

pretrial order adopted by this court.



/s/ _______________                               /s/ _________________
David H. Bouchard                                 Dana M. Richens
Counsel for Plaintiff                             Counsel for Defendant




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   ATTACHMENT A - JOINT PROPOSED JURY QUESTIONNAIRE

      Plaintiff J.G. (“Plaintiff”) and Defendant Northbrook Industries, Inc., d/b/a

United Inn & Suites (“Defendant”) hereby submit the following proposed jury

questionnaire. After conferring, there remains one objection by Defendant to a

question proposed by Plaintiff, which is noted herein.




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      In selecting a jury, we would like to understand if you, or anyone you know,

has certain knowledge or experience that may be relevant to this case.

      1.     Where were you born? Where did you grow up? How long have you

lived in the Atlanta area?

      2.     Have you, or anyone you know, worked:

             a.    For a motel, hotel, or inn?

             b.    In any role in the hospitality industry?

             c.    For law enforcement?

             d.    As security?

             e.    As a housekeeper?

             f.    As a maid?

             g.    In the legal industry?

             h.    For a law firm, or law office?

             i.    For a prosecutor’s office?

             j.    For a defense attorney’s office?




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      3.    Have you, or anyone you know, worked for a business with an annual

revenue of more than one million dollars?

            a.    When?

            b.    What type?

Defendant objects to the above question, proposed by Plaintiff, as seeking to
improperly introduce the irrelevant and prejudicial topic of Northbrook’s
financial status.

      4.    Have you, or anyone you know, ever owned a business?

            a.    When?

            b.    What type?

            c.    How many employees?

      5.    Have you, or anyone you know, managed people?

            a.    When?

            b.    How many?

            c.    What was the job?

      6.   Have you, or anyone you know, ever trained people in their jobs?

           a.     When?

           b.     For what?

      7.    Have you ever been sued? [If so: When? Nature of the lawsuit?

Result?]

      8.    Have you ever filed a lawsuit, or have a family member or close friend


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who has filed a lawsuit? [If so: When? Nature of the lawsuit? Result?]

      9.     Have you ever been accused of a crime, or have a family member or

close friend accused of a crime? [If so: Who? When? What? Result?]

      10.    Have you ever been convicted of a crime, or have a family member or

close friend who has been convicted? [If so: Who? When? What? Result?]

      11.    Do you have any knowledge or information about the United Inn &

Suites located at 4649 Memorial Drive, Decatur, GA 30032?

      12.    Have you ever been homeless?

      13.    Have you ever lived in a group home? If yes, please explain the

circumstances.

      14.    Do you or someone close to you suffer from any mental health issues,

such as anxiety, depression, and/or post-traumatic stress disorder (PTSD)?

      15.    Have you ever been the victim of, or do you know of anyone who has

been the victim of, any form of physical violence or abuse?

      16.    Have you ever been the victim of, or do you know of anyone who has

been the victim of, sex trafficking, sexual abuse or assault, or other sexual trauma?

If yes, please describe.

      17.    Have you ever made allegations against someone else of physical or

sexual abuse? If yes, what happened to the case?

      18.    Have allegations of physical or sexual abuse ever been made against


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you or someone you know? Who were the allegations made against? What

happened? Did you think you/he/she was treated fairly?

       19.    Have you ever reported physical or sexual abuse to a co-worker, a

manager, a boss, a supervisor, law enforcement, or someone else? What did you

report? Was it for yourself, or on someone else’s behalf? And whom were the

allegations against?

       20.    Have you ever been a mandatory reporter? In what context? In that

capacity, have you ever submitted a report regarding physical or sexual abuse?

       21.    Have you, or has someone close to you, ever been the victim of a violent

crime? If yes, please describe.

       22.    Have you ever received or given professional counseling related to

physical or sexual violence, abuse, or trauma? If yes, please indicate if counseling

is still ongoing.

       23.    Have you ever worked with or had personal experience with minors

involved in the foster system, juvenile justice, or youth shelters? If yes, please

describe.

       24.    Are you involved in or a supporter of any victim’s rights, victim’s

advocacy, or victim’s assistance programs? If yes, please describe.

       25.    Do you have beliefs or biases about the sex trafficking of minors that

would prevent you from being fair and impartial in this case? If yes, please explain.


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                               Respectfully submitted,

                               ______________________________
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                     ATTACHMENT B – 1
      PLAINTIFF J.G.’s PROPOSED VOIR DIRE QUESTIONS

              Request for Additional Qualifying Questions

      Plaintiff requests the following additional qualifying voir dire

questions:

26. Is English your native language? If not, would you have difficulty

   understanding Court proceedings and following instructions?

27. Is there anyone who is already leaning towards the Plaintiff or the Defense? Is

   there anyone’s mind that is not completely impartial between the Plaintiff and

   the Defense?




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                            Individual Questions

      Plaintiff filed a lawsuit against United Inn & Suites, a hotel in DeKalb

County, and alleges that she was sex trafficked there at the age of 16 for over 35

days. She alleges that the hotel violated a federal law called the Trafficking

Victims Protection Reauthorization Act, and through her lawsuit she seeks to have

Northbrook found civilly liable and to obtain an award of monetary damages.

      The purpose of these voir dire questions is to assist the lawyers with

selecting jurors for this case. We thank you for participating and answering our

questions directly. We will move through them efficiently.

   (1) As I said, this case concerns the United Inn & Suites, located at 4649

      Memorial Drive, Decatur, GA 30032.

          a. Is anyone here familiar with the United Inn & Suites?

          b. If anyone here has never stayed at a hotel, will you please raise your

             hand?

          c. Raise your hand if safety and security at a hotel is important to you

             when you stay at a hotel. Why? (Defendant objects as confusing and

             misleading)

          d. Raise your hand if you believe that a hotel has a responsibility to keep

             guests at the hotel safe and secure. How come? (Defendant objects as

             confusing and misleading, and invades the province of the Court


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          to instruct the jury on the applicable law)

      e. What do you expect a hotel to do to keep guests safe and secure? Do

          you expect it to have adequate staffing, security monitoring, or to call

          the police in response to crime? (Defendant objects as confusing

          and misleading)

      f. Raise your hand if you expect a hotel to notify the police about

          criminal activities at the hotel, like guests who are selling drugs or

          girls for sex?

(2) Has anyone ever stayed at an extended stay hotel?

      a. In your mind, how is an extended stay different from a regular hotel

          where people might only stay for one or two nights and then leave?

      b. For those who answered yes, that they have stayed at an extended stay

          hotel, did you become familiar with hotel staff?

(3) This case is about sex trafficking.

      a. Raise your hand if you are familiar with the term sex trafficking.

          What do you understand it to mean?

      b. Raise your hand if you know of someone who is the victim of sex

          trafficking.

      c. Raise your hand if you think you know the difference between sex

          trafficking and prostitution. How would you describe the difference?


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      d. Raise your hand if you have ever seen a person who you believed was

         engaged in prostitution. What made you think that?

      e. Raise your hand if you believe there is a difference between sex

         trafficking of a 16-year-old and sex trafficking of an adult. What’s the

         difference?

      f. Raise your hand if you believe a minor can consent to sex trafficking.

         Why do you believe that?

      g. Raise your hand if you believe force and coercion play a role in

         distinguishing sex trafficking and prostitution. How so?

      h. Some people believe that trafficking only happens overseas or in

         movies. What have you heard or seen about sex trafficking in the

         United States?

      i. Would you expect hotel managers to be familiar with sex trafficking

         because of the industry they work in?

(4) The federal age of consent is 18 years of age.

      a. Raise your hand if you disagree with that law. Why? (Defendant

         objects as confusing and misleading)

      b. Raise your hand if you do not think that should be the law. Why?

         (Defendant objects as confusing and misleading)

      c. Raise your hand if you’d refuse to apply the federal law on the age of


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         consent simply because you disagree with the federal law. (Defendant

         objects as confusing and misleading)

      d. Raise your hand if you view 16-year-old as adults. How about as

         children?

(5) Is anyone here familiar with what a BOLO notice is?

      a. This case concerns a lawsuit against a hotel company. Raise your

         hand if you believe that a sex trafficking victim should not be able to

         sue a hotel where the victim was sex trafficked. How come?

      b. Raise your hand if you believe a hotel has a duty to protect their

         guests from criminal activity—or is that asking too much?

         (Defendant objects as confusing, misleading and argumentative)

(6) You will hear about people who worked at Defendant’s hotel.

      a. Has anyone here had to undergo a background check prior to getting a

         job? Is that important? Why? (Defendant objects as confusing,

         misleading and argumentative)

      b. Raise your hand if you believe it’s important for a hotel to maintain

         records of its employees. Why? (Defendant objects as confusing,

         misleading and argumentative)

      c. Raise your hand if you believe it’s important for a hotel to train its

         employees. Why? (Defendant objects as confusing, misleading and


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         argumentative)

      d. What responsibility does a hotel have to supervise its employees?

         (Defendant objects as it invades the province of the Court to

         instruct the jury on the applicable law)

(7) Closing items.

      a. Raise your hand if you would be unwilling to award damages for pain

         and suffering, or mental anguish, regardless of the evidence and the

         law.

      b. The standard in this case is not, “beyond a reasonable doubt.” In cases

         like this case—which is a civil case, not a criminal case—we have a

         different standard. It’s called, “Preponderance of the Evidence.” It’s,

         in effect, a fancy way of saying, “more likely than not.” Is there

         anyone here that would refuse to follow the standard for this case

         because you feel it should be different?

      c. Monetary compensation is the way that civil cases are resolved. Raise

         your hand if you believe that money is not a fair way to resolve

         disputes. Why or why not?

      d. Please raise your hand if you have an unfavorable opinion of people

         who file lawsuits against others seeking monetary damages

      e. Raise your hand if you believe that jury verdicts are too high these


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        days.

     f. If you have an unfavorable view of seeking monetary damages in the

        civil justice system, please raise your hand.

     g. If you have an unfavorable view of the civil justice system for any

        reason, please raise your hand.

     h. Raise your hand if you have heard of the 2025 Georgia Tort Reform

        agenda. If you support tort reform, please tell us why.

     i. At the end of trial, Plaintiff intends to ask for a significant verdict in

        the millions of dollars. Is there anyone here who would never be

        willing to award a significant verdict in the millions of dollars, even if

        it is justified by the evidence and the law? (Defendant objects as

        improper attempt to unduly influence the jury by preconditioning

        or anchoring the jury to a substantial verdict)

     Respectfully submitted, this _____ day of _________, 2025.

                       [signature block on next page]




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Attachment “B-2” – Defendant Northbrook’s General Questions for Voir Dire

         In addition to the Court’s standard qualifying questions and background

questions, Defendant Northbrook requests the opportunity to propound the

following additional questions to prospective jurors during voir dire.

General

         1.   Do you know any of the other members of this jury panel?

              a.    If yes, whom do you know?

Work Experience

         2.   Have you, or anyone close to you, worked in a medical or healthcare

field?

              a.    If yes, who, for how long and in what specific capacity?

         3.   Have you, or anyone close to you, worked in counseling or social work?

              a.    If yes, who, for how long and in what specific capacity?

         4.   Have you, or anyone close to you, worked in or at a hotel?

              a.    If yes, who, state name and location of hotel, how long and job

                    title/description.

         5.   Have you, or anyone close to you, worked in the legal field?

              a.    If yes, who, for how long and in what specific capacity?

         6.   Have you, or anyone close to you, worked in law enforcement?

              a.    If yes, who, what agency and for how long?


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Hotel-Related

      7.     Have you ever stayed at a budget, or economy, hotel – that is, a small

to midsize property that offers basic facilities and service for a low price?

      8.     Have you ever stayed at an extended stay hotel?

      9.     Are you familiar with United Inn and Suites, located at 4649 Memorial

Drive in Decatur?

             a.     If yes, how so?

      10.    Have you, or anyone close to you, ever stayed at United Inn and Suites,

located at 4649 Memorial Drive in Decatur?

              a.    If yes, who, when and for how long?

General Attitudes

      11.    The Court will instruct you that as a juror, you decision must be based

only on the evidence presented during the trial. You must not be influenced in any

way by either sympathy for or prejudice against anyone. You must follow the law

as the Court explains it, even if you do not agree with it. Is there anyone who feels

they would not be able to follow such instructions for any reason? [If anyone

responds in the affirmative, why not?]

      12.    By a show of hands, how many of you would strongly agree with the

statement, “A lawsuit would not make it to trial unless the plaintiff had a legitimate

claim against the defendant.”


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             a.     If yes, please explain.

      13.    Under the law, a corporation and an individual must be treated equally

in a lawsuit, without favoritism for one over the other. Please raise your hand if you

think it will be difficult for you to follow this requirement.

             a.     If yes, please explain.

Attitudes toward Law Enforcement

      14.    Some of the witnesses in this case may be members of law enforcement.

Have you, or someone close to you, ever had an interaction with law enforcement –

such as an arrest, charge or conviction – that you believe might affect your ability to

be fair and impartial in this case?

             a.     If yes, please describe.

      15.    Have you or any member of your immediate household ever had an

experience or encounter with any member of the DeKalb County Police

Department?

             a.     If yes, please describe.

Lawsuits/Damages

      16.    Does anyone think they would have a hard time sending the Plaintiff

Jhorydn home with a no-money verdict at the end of this trial even if the law and

evidence warranted such an outcome?

             a.     If yes, please explain.


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      17.    Is there anyone who will not be able to follow the Court’s instruction

that compensatory damages, if any, must be proven by the plaintiff?

Final Questions

      18.    Is there anything about your experiences, your views, the people you

know, or anything else that you think the judge or the attorneys working on this trial

would want to know?

      19.    Based on what you’ve heard, is there any reason whatsoever why you

feel you would not be able to render a fair and impartial judgment in this case? [For

anyone who gave a positive response, are you saying that you would not be able to

listen to the evidence presented by both sides? And are you saying that you would

not be able to apply the law as instructed by the judge?]




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                Attachment C – Plaintiff J.G.’s Outline of the Case
 I.     Brief Factual Summary

        Plaintiff alleges that: (1) she was sex trafficked at the age of 16 years old at

United Inn & Suites, 4649 Memorial Drive, Decatur, GA 30032; (2) during the

relevant period Defendant owned, managed, and controlled United Inn & Suites and

profited from her sex trafficking at the hotel; and (3) she suffered injuries and

damages as a result of being trafficked at United Inn & Suites. Plaintiff further

alleges that Defendant allowed, facilitated, aided and abetted, permitted, and/or

condoned Plaintiff’s sex trafficking at United Inn & Suites.

        Based on evidence to be introduced at trial (which is not set forth herein),

Plaintiff asserts that Defendant violated the Trafficking Victims Protection

Reauthorization Act, 18 U.S.C. 1595(a) (“TVPRA”) by knowingly benefiting, or

attempting or conspiring to benefit, financially or by receiving anything of value

from taking part in a common undertaking or enterprise involving risk and potential

profit which Defendant knew or should have known involved the sex trafficking of

Plaintiff at United Inn & Suites. Plaintiff contends that she has suffered substantial

harm, including but not limited to physical, emotional, and psychological harm, as a

direct, cause-in-fact, foreseeable, and proximate result of Defendant’s violation of

section 1595(a). Plaintiff asserts that Defendant’s actions or lack thereof directly

contributed to and were interrelated in facilitating Plaintiff’s sex trafficking from


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which she suffered irreparable harm. Plaintiff contends that Defendant is liable to

Plaintiff for her damages in an amount to be proven at trial, including but not limited

to reasonable attorneys’ fees and punitive damages under 18 U.S.C. § 1595(a).

      Plaintiff brought this action to recover for the substantial and indivisible harm

Defendant has caused her. Plaintiff will seek economic and non-economic damages

under the TVPRA, which includes Plaintiff’s past, present, and future physical and

mental harm and pain and suffering, in an amount to be determined by the

enlightened conscience of the jury. Plaintiff reserves the right to determine what she

will ask the jury to award in economic and non-economic damages up to and during

trial based on the evidence and testimony admitted at trial; at this point, she intends

to request at least $10 million based on the significant trauma Plaintiff suffered as a

child sex trafficking victim at Defendant’s hotel for weeks, where she was falsely

imprisoned, recruited, enticed, harbored, transported, provided, obtained, advertised,

patronized, and solicited for the purpose of commercial sex with hundreds of sex

buyers.

      Plaintiff also seeks punitive damages under the TVPRA in an amount to be

determined by the jury. Plaintiff reserves the right to determine what she will ask

the jury to award in punitive damages up to and during trial based on the evidence

and testimony admitted at trial; at this point, she intends to request at least $10




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million based on the Defendant’s actions and inactions to allow, facilitate, aid and

abet, permit, and/or condone Plaintiff’s sex trafficking at United Inn & Suites.

        Finally, Plaintiff will seek to recover her reasonable attorneys’ fees, costs, and

expenses under the TVPRA and any other fee-shifting authority.

        Plaintiff reserves the right to pursue all damages allowed under federal law

for her injuries and Defendant’s unlawful actions, including but not limited to all

general, compensatory, economic, non-economic, special, consequential, general,

punitive, and all other damages permissible under Georgia and federal law.

II.     Relevant Rules, Regulations, Statutes, Ordinances, and Illustrative
        Caselaw.
        Plaintiff incorporates here the representative rules, regulations, statutes,

ordinances, and caselaw contained in her response to Defendant’s motion for

summary judgement, her motion in limine briefing, and her response to Defendant’s

motions in limine. Further, Plaintiff cites the following rules, regulations, statutes,

ordinances, and caselaw:

   • 28 U.S.C. § 1331 (federal question)

   • 28 U.S.C. § 1391 (venue generally)

   • 18 U.S.C. § 1591 (TVPRA – criminal provision)

   • 18 U.S.C. § 1595(a) (TVPRA – civil provision)

   • O.C.G.A. § 16-5-46 (trafficking a person for labor or sexual servitude)




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• O.C.G.A. § 16-5-47 (posting model notice to enable persons who are subject

   of human trafficking to obtain help and services)

• TVPRA cases

      a. Doe #1 v. Red Roof Inns, Inc., 21 F.4th 714 (11th Cir. 2021)

      b. G.G. v. Salesforce.com, Inc., 76 F.4th 544 (7th Cir. 2023)

      c. Jane Doe 1 v. Red Roof Inns, Inc., et al., Case 1:19-cv-03840-WMR

         (N.D. Ga. Feb. 3, 2021)

      d. H.H. v. G6 Hosp., LLC, No. 2:19-CV-755, 2019 WL 6682152 (S.D.

         Ohio 2019)

      e. Ricchio v. McLean, 853 F.3d 553 (1st Cir. 2017)

      f. J.C. v. Choice Hotels Int’l, Inc., No. 20-CV-00155-WHO, 2020 WL

         6318707 (N.D. Cal. Oct. 28, 2020)

      g. Doe v. Rickey Patel, LLC, No. 0:20-60683-WPD-CIV, 2020 WL

         6121939 (S.D. Fla. Sept. 30, 2020)

      h. M.A. v. Wyndham Hotels & Resorts, Inc., 425 F. Supp. 3d 959 (S.D.

         Ohio 2019)

      i. A.B. v. Marriott Int'l, Inc., 455 F. Supp. 3d 171 (E.D. Pa. 2020)

      j. S.Y. v. Naples Hotel Co., 476 F. Supp. 3d 1251 (M.D. Fla. 2020)

      k. W.K. v. Red Roof Inns, Inc., 2024 WL 2892322 (N.D. Ga. 2024)

      l. Arreguin v. Sanchez, 398 F.Supp.3d 1314 (S.D. Ga. 2019)


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      m. Doe v. MG Freesites, LTD, 707 F.Supp.3d 1157 (N.D. Al. 2023)

      n. Doe v. Howard, No. 1:11-cv-1105, 2012 WL 3834867 (E.D. Va. Sept.

         4, 2012)

• Georgia law on duty of owner/occupier to secure property

      a. Georgia CVS Pharmacy v. Carmichael, 362 Ga. App. 59 (2023)

• Agency and vicarious liability

      a. Doe (K.B.) v. G6 Hosp., LLC, No. 1:23-CV-2597-TWT, 2023 WL

         8650785, at *7 (N.D. Ga. Dec. 14, 2023) (collecting cases applying

         state law on vicarious liability to TVPRA claims).

      b. Georgia law on vicarious liability, including, for example: Ga. Civil

         Pattern Instruction 60.310, 60.320; Broadnax v. Daniel Custom

         Const., LLC, 315 Ga. App. 291, 297 (2012); Brown v. AMF Bowling

         Centers, Inc., 236 Ga. App. 277, 278 (1999)

      c. Restatement of Agency Law

      d. Burlington Indus., Inc. v. Ellerth, 524 U.S. 742 (1998)

• Similar Acts Evidence

      a. 11th Cir. Criminal Pattern Instructions, T.1 Cautionary Instruction,

         Similar Acts Evidence (Rule 404(b), Fed. R. Evid.)

      b. 11th Cir. Criminal Pattern Instructions S4.2 Similar Acts Evidence –

         Identity (2024 Edition)


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      c. Treminio v. Crowley Maritime Corp., 2024 WL 382400 * 7 (M.D. FL

         Feb. 2024)

      d. Ardolf v. Weber, 332 F.R.D. 467, 475 (S.D.N.Y. 2019) .

• Joint and several liability under TVPRA

      a. Norfolk & W. Ry. Co. v. Ayers, 538 U.S. 135 (2003)

      b. Staub v. Proctor Hosp., 562 U.S. 411 (2011)

      c. Astoria Fed. Sav. & Loan Ass’n v. Solimino, 501 U.S. 104 (1991)

      d. United States v. Texas, 507 U.S. 529 (1993)

      e. Barnhart v. Sigmon Coal Co., 534 U.S. 438 (2002)

      f. K.M. v. Reva Props., LLC d/b/a Super 8, No. 1:22-cv-3991-TWT,

         2024 WL 1217420 (N.D. Ga. Mar. 21, 2024) (Thrash, J.).

      g. The Atlas, 93 U.S. 302 (1876)

      h. 18 U.S.C. § 1593(b)(2)

      i. Watts v. Laurent, 774 F.2d 168, 179 (7th Cir. 1985)

      j. Burlington N. & Santa Fe Ry. Co. v. United States, 556 U.S. 599,

         614–15 (2009).

• Punitive damages under TVPRA

      a. Ditullio v. Boehm, 662 F.3d 1091 (9th Cir. 2011).

      b. Francisco v. Susano, 525 F. App’x. 828 (10th Cir. 2013)




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      c. K.M. v. Reva Props., LLC d/b/a Super 8, No. 1:22-cv-3991-TWT,

         2024 WL 1217420 (N.D. Ga. Mar. 21, 2024) (Thrash, J.).

      d. Warfaa v. Ali, 1 F.4th 289 (4th Cir. 2021)

      e. Roe v. Howard, 917 F.3d 229 (4th Cir. 2019)

      f. Adhikari v. Kellogg Brown & Root, Inc., 845 F.3d 184, 206 (5th Cir.

         2017)

      g. Moore v. Rubin, --- F. Supp. 3d ----, 2024 WL 1191135 (E.D.N.Y.

         Mar. 20, 2024)

      h. Carazani v. Zegarra, 972 F. Supp. 2d 1, 26 (D.D.C. 2013)

      i. Restatement (Second) of Torts

• Inference arising from discovery misconduct / failure to produce information

   in party’s control

      a. O.C.G.A. § 24-14-22 (presumption arising from failure to produce

         evidence)

      b. Federal Jury Practice and Instructions by Kevin F. O'Malley, Jay E.

         Grenig, & William C. Lee, “Failure to Produce Evidence Under

         Party’s Control” in 7th edition at § 104:26.

• Federal Rules of Civil Procedure, including but not limited to Rules 26, 32,

   37, and 42

• Federal Rules of Evidence, including but not limited to Rules 611 and 613


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• Jury Instructions

      a. Eleventh Circuit Pattern Jury Instructions

      b. Federal Jury Practice and Instructions by Kevin F. O'Malley, Jay E.

         Grenig, & William C. Lee

      c. Georgia Pattern Civil Jury Instructions

• Fees, costs, expenses

      a. 18 U.S.C. § 1595(a)

      b. O.C.G.A. § 9-11-68 (written offers to settle tort claims; liability of

         refusing party for attorney’s fees and expenses)

      c. O.C.G.A. § 13-6-11 (expenses of litigation)

• Plaintiff anticipates she will rely on common law negligence principles and

   case law pertaining to negligence, damages (including punitive damages),

   and attorneys’ fees.

• Dekalb County Municipal Ordinances, including but not limited to Chapter

   18 (Nuisances), Article III (Property Maintenance), and Article VI (Hotels,

   Motels, Extended Stays).

• Department of Homeland Security (“DHS”) published guidelines for the

   hospitality industry on sex trafficking red flags.

• The Tourism Child-Protection Code of Conduct, ECPAT, published

   guidelines for the hospitality industry on sex trafficking red flags.

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• All authorities relied on by Defendant.




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         Attachment “D” – Defendant Northbrook’s Outline of the Case


   I.     Brief Factual Summary

        Defendant Northbrook Industries, Inc. (“Northbrook”) owns and operates the

United Inn and Suites located at 4649 Memorial Drive, Decatur, Georgia, where

Plaintiff J.G. alleges she was trafficked for sex in late 2018 and early 2019.

        The sole substantive claim remaining in the case is Plaintiff’s claim under the

“beneficiary” provision of the Trafficking Victims Protection Reauthorization Act

(“TVPRA”), 18 U.S.C. § 1595(a).

        On the question of liability, Northbrook intends to demonstrate that it is not

liable to Plaintiff under the TVPRA because Northbrook did not (1) knowingly

benefit (2) from participating in a venture, (3) which venture violated the TVPRA

as to Plaintiff; and/or that (4) Northbrook did not have actual or constructive

knowledge that any such venture violated the TVPRA as to Plaintiff. Among other

things, Northbrook will contend that alleged wrongful employee conduct (e.g.,

acting as a “lookout”) and the knowledge of any such rogue employee is not

imputable to Northbrook.

        Northbrook will argue that its acts or omissions were not the cause in fact or

proximate cause of injury or harm to Plaintiff. Instead, Plaintiff’s injury and harm

were caused, in whole or in part, by pre-existing and subsequent conditions and



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events unrelated to the subject matter of this case, and/or the conduct of persons

other than Northbrook, and/or Plaintiff’s own acts or omissions.

         As to Plaintiff’s claim for damages against Northbrook, Northbrook will argue

that it is entitled to seek apportionment of such damages against other actors.

Northbrook will argue that it is entitled to a credit against any damages award for

any settlement or judgment obtained from other persons or entities relating to

Plaintiff’s sex trafficking.

         On the question of punitive damages, Northbrook contends that the TVPRA

does not contemplate the recovery of punitive damages, and that state law does not

provide a punitive damages remedy in this federal-question case. Northbrook further

contends that even if the remedy of punitive damages were available under

applicable law, Plaintiff has not made the showing required for the imposition of

punitive damages.



   II.      Relevant Rules, Regulations, Statutes, Ordinances and Illustrative Case

            Law

         18 U.S.C. § 1591 (sex trafficking)

         18 U.S.C. § 1595(a) (TVPRA “beneficiary” provision)

         O.C.G.A. § 51-12-33 (apportionment)




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  TVPRA cases:

  Doe #1 v. Red Roof Inns, Inc., 21 F.4th 714 (11th Cir. 2021)

  Doe (K.B.) v. G6 Hospitality, LLC, Civil Action File No. 1:23-CV-2597-
  TWT, 2024 WL 4701891 (N.D. Ga. Nov. 5, 2024)

  K.H. v. Riti, No. 23-11682, 2024 WL 505063 (11th Cir. Feb. 9, 2024)

  C.C. v. H.K. Group of Co., Inc., Civil Action File No. 1:21-cv-1345-TCB,
  2022 WL 467813 (N.D. Ga. Feb. 9, 2022)

  A.B. v. H.K. Group of Co., Inc., Civil Action File No. 1:21-cv-1344-TCB,
  2022 WL 467786 (N.D. Ga. Feb. 9, 2022)

  A.G. v. Northbrook Indus., Inc., No. 1:20-CV-05231, Dkt. #151 (N.D. Ga.
  June 14, 2024)

  G.W. v. Northbrook Indus., Inc., No. 1:20-CV-05232-JPB, 2024 WL 3166083
  (N.D. Ga. June 14, 2024)

  J.G. v. Northbrook Indus., Inc., No. 1:20-CV-05233-SEG, 2024 WL 4513034
  (N.D. Ga. Aug. 15, 2024)

  Ricchio v. McLean, 853 F.3d 553 (1st Cir. 2017)



  Vicarious liability/imputation of knowledge:

  Carter v. Riggins, 748 S.E.2d 117 (Ga. App. 2013)

  Burlington Indus., Inc. v. Ellerth, 524 U.S. 742 (1998)

  Estes v. Standard Fire Ins. Co., 66 Ga. App. 775 (1942)

  Am. Oil Co. v. McCluskey, 119 Ga. App. 475 (1969)

  Cadet v. Fla. Dep’t of Corr., 85 F.3d 1216 (11th Cir. 2017)


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  Roylston v. Bank of Am., N.A., 660 S.E.2d 412 (Ga. App. 2008)

  Restatement (Second) of Agency § 228, 229, 235, 280



  Causation:

  Bourn v. Herring, 225 Ga. 67 (1969)

  Jackson v. Sauls, 206 F.3d 1156 (11th Cir. 2000)
  W. Page Keeton, et al., Prosser and Keeton on the Law of Torts, §§ 41–42
  (5th ed.1984)



  Apportionment:

  U.S. v. Milner, 583 F.3d 1174 (9th Cir. 2009)

  Restatement (Second) of Torts § 433A (Am. Law Inst. 1965)



  Damages/attorneys fees:

  Guyana Tel. & Tel. Co. v. Melbourne Int’l Commc’ns, Ltd., 329 F.3d 1241
  (11th Cir. 2003)

  Maiz v. Virani, 253 F.3d 641 (11th Cir. 2001)

  State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408 (2003)

  Ditullio v. Boehm, 662 F.3d 1091 (9th Cir. 2011) (Callahan, J., dissenting)

  Perkins v. Thrasher, 701 F. App’x 887 (11th Cir. 2017)

  Leonard v. State Farm Mut. Auto. Ins. Co., Civil Action No. 1:14-CV-1074-
  AT, 2014 WL 12219378 (N.D. Ga. June 17, 2014)

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  BUC Int’l Corp. v. Int’l Yacht Council Ltd., 517 F.3d 1271 (11th Cir. 2008)

  Wang v. Gold Mantis Constr. Decoration (CNMI), LLC, 705 F. Supp. 3d 1190
  (D. N. Mar. I. 2021)

  In re Enron Corp. Sec., Derivative and ERISA Litig., 623 F. Supp. 2d 798
  (S.D. Tex. 2009)



  All authorities relied on by Plaintiff




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                                    Attachment E
        The parties, J.G. and United Inn, have agreed that the following facts are true

and correct:

 I.     At all relevant times, Northbrook Industries, Inc. d/b/a United Inn & Suites
        solely owned, operated, and managed the hotel property located at 4649
        Memorial Drive, Decatur, GA 30032.

II.     At all relevant times, United Inn & Suites had 172 guest rooms.




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                                          Attachment F-1 – Plaintiff J.G.’s Witness List
          Witness Names                                   Contact information                                   Call Status
 FBI Agent KJ Strickler                FBI Atlanta, 2635 Century Pkwy NE #400, Atlanta, GA 30345        May call
 Lieutenant C.D. King                  Henry County Sherriff’s Office, 120 Henry Pkwy,                  Will call
                                       McDonough, GA 30253
 DeKalb County District Attorney’s     556 N McDonough St #700, Decatur, GA 30030                       May call
 Office Investigator Benton
 Ashar Islam                           Contact through Defense counsel                                  May call
 Tahir Shareef                         Contact through Defense counsel                                  May call
 United Inn 30(b)(6) Representative    Contact through Defense counsel                                  May call
 Harsimran Sabharwal                   Contact through Defense counsel                                  May call
 C.C.                                  Contact through Plaintiff’s counsel                              May call
 G.W.                                  Contact through Plaintiff’s counsel                              May call
 A.G.                                  Contact through Plaintiff’s counsel                              May call
 N.S.                                  Contact through Plaintiff’s counsel                              May call
 J.G.                                  Contact through Plaintiff’s counsel                              Will call
 Claudette Grimes                      Contact through Plaintiff’s counsel                              May call
 Shameka Grimes                        Contact through Plaintiff’s counsel                              May call
 Keisha Grimes                         Contact through Plaintiff’s counsel                              May call
 Sonya Madison                         House of Hope, PO Box 21283                                      May call
                                       St. Simons Is, GA 31522, 912-223-8023
 Naeshia McDowell                      Contact through Plaintiff’s counsel                              May call
 Darrell Chaneyfield                   Contact through Plaintiff’s counsel                              May call

Summary of Expert Witness Testimony

The following is a summary of the expected testimony of both of Plaintiff’s expert witnesses:
   1. Naeshia McDowell: Ms. McDowell is the Director of the Commercial Sexual Exploitation of Children (CSEC) Response Team
      for Children’s Advocacy Centers of Georgia. Based on her education, training, and professional experience with
      approximately 500 child victims of sex trafficking, Ms. McDowell will testify about the relational, emotional, and

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   psychological dynamics involved in minor sex trafficking, including recruitment, entrapment, and enmeshment, as well as
   common behaviors displayed by minor victims of sex trafficking while being trafficked. She will also testify about those
   dynamics in Plaintiff’s trafficking experience, among other issues addressed in greater detail in Ms. McDowell’s expert report
   and deposition testimony.
2. Darrell Chaneyfield: Mr. Chaneyfield works as a director of security and crisis management for IHG hotels. He will testify
   about security measures a reasonable hotelier should exercise in the face of known signs of prostitution and sex trafficking,
   especially when the signs have been known in the hotel industry for years. He will also opine regarding the Defendant’s failure
   to take sufficient steps to address prostitution and sex trafficking occurring at the hotel. He will address other issues identified
   in his previously disclosed expert report and in his deposition testimony. And he may serve to rebut the testimony of defense
   expert Karim Vellani.




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                                 Attachment F-2
           J.G. v Northbrook Industries, Inc., d/b/a United Inn and Suites
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                          Defendant’s Trial Witness List


Witnesses whom Northbrook will have present at trial:

     1.      Tahir Shareef. May be contacted through counsel for Northbrook.

     2.      Ashar Islam. May be contacted through counsel for Northbrook.

Witnesses whom Northbrook may have present at trial:

     3.      Corita Gram. May be contacted through counsel for Northbrook.

     4.      Keten Patel. May be contacted through counsel for Northbrook.

     5.      Rossa Mandosa. May be contacted through counsel for Northbrook.

     6.      Jassie Gram. May be contacted through counsel for Northbrook.

     7.      Sheakh Muhammad.          May be contacted through counsel for
             Northbrook.

     8.      Sergeant Willie McClelland. DeKalb County Police Department, 1960
             W. Exchange Place, Tucker, Georgia 30084.

     9.      Detective Royal Weber. DeKalb County Police Department, 1960 W.
             Exchange Place, Tucker, Georgia 30084.

     10.     B.W. O’Brien. DeKalb County Police Department, 1960 W. Exchange
             Place, Tucker, Georgia 30084.

     11.     H.M. Belle. DeKalb County Police Department, 1960 W. Exchange
             Place, Tucker, Georgia 30084.

     12.     N.D. Craft. DeKalb County Police Department, 1960 W. Exchange
             Place, Tucker, Georgia 30084.

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      13.    Sergeant C.D. King. Henry County Sheriff’s Office, 120 Henry
             Parkway, McDonough, Georgia 30253.

      14.    Karim Vellani. See below.

      Northbrook reserves the right to call Plaintiff J.G. and any other witness listed
by Plaintiff.



Northbrook’s expert witness:
     Karim Vellani. Threat Analysis Group. P.O. Box 16640, Sugar Land, Texas
77496.
       Mr. Vellani’s expected testimony will include the subject matter of his June
14, 2023 expert report and November 28, 2023 deposition, including, but not limited
to: sex-trafficking victim identification, including comparison of sex-trafficking
identification in the hotel setting to other settings, such as the healthcare setting; sex
trafficking as a “clandestine” crime; the efficacy of sex-trafficking “indicators” as a
means to reliably identify sex-trafficking activity; crime risk analysis of United Inn;
description and assessment of the security features and measures at United Inn,
including opinion as to adequacy of such features and measures; and rebuttal of the
testimony of Plaintiff’s proffered security expert Darrell Chaneyfield.




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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

      J.G.,                                   :
                                              :
                     Plaintiff,               :
                                              :     CIVIL ACTION FILE
              vs.                             :
                                              :     NO. 1:20-cv-05233-SEG
      NORTHBROOK INDUSTRIES,                  :
      INC., D/B/A UNITED INN AND              :
      SUITES,                                 :
                                              :
                     Defendant.               :

                                  PLAINTIFF’S TRIAL BRIEF

      Plaintiff hereby submits the enclosed trial brief addressing the following

issues:

    Joint and several liability under 18 U.S.C. § 1595(a);

    Punitive damages under 18 U.S.C. § 1595(a);

    Deposition designations for United Inn’s 30(b)(6) representative;

    Adverse inference arising from United Inn’s failure to identify its staff.




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Plaintiff’s Trial Brief on Joint and Several Liability under 18 U.S.C. § 1595(a)1

      In 2003, when Congress empowered sex-trafficking victims to pursue civil

remedies under the TVPRA,2 it did so against the general common law of torts. E.g.,

Staub v. Proctor Hosp., 562 U.S. 411, 417 (2011). The traditional damages rule for

torts is joint and several liability—not apportionment. See Norfolk & W. Ry. Co. v.

Ayers, 538 U.S. 135, 163 (2003) (“joint and several liability is the traditional rule”).

      To abrogate that traditional rule, Congress would need to speak directly to it.

See Astoria Fed. Sav. & Loan Ass’n v. Solimino, 501 U.S. 104, 108 (1991). But

Congress said nothing about joint and several liability (the default, common-law

rule) or apportionment (a special rule) in the TVPRA civil-liability statute. That

silence reveals Congress’ intent, because Congress did say something about

apportionment in another TVPRA section, specifically allowing apportionment for

restitution. 18 U.S.C. § 1593(b)(2). Thus, Congress’s intent was for TVPRA civil

liability to be joint and several—consistent with the common law of torts.




      1
         In her motions in limine, Plaintiff outlined why liability under the TVPRA
is joint and several and expressed her intent to submit a more fulsome trial brief on
the topic. This brief serves that purpose.
       2
          Trafficking Victims Protection Reauthorization Act of 2003, Pub. L. No.
108-193, sec. 4(a), § 1595, 117 Stat. 2875, 2878 (codified at 18 U.S.C. § 1595(a)).
In 2008, Congress amended § 1595 to allow sex-trafficking victims to sue those who
knowingly benefit from their sex trafficking. See William Wilberforce Trafficking
Victims Protection Reauthorization Act of 2008, Pub. L. No. 110-457, § 221(2), 122
Stat. 5044, 5067 (codified at § 1595(a)).
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       Whether United Inn will be jointly and severally liable for a judgment is not

a question the Court can answer until there is a verdict. But the Court can rule that

joint and several liability is available for TVPRA claims.

                  ARGUMENT AND CITATION OF AUTHORITY

I.     Civil liability under the TVPRA is joint and several.

       Congress enacted the TVPRA “to combat trafficking in persons, … to ensure

just and effective punishment of traffickers, and to protect their victims.”3 The

TVPRA civil-liability statute, 18 U.S.C. § 1595(a), empowers Plaintiffs to pursue

dual goals of compensation and punishment. It ensures that Plaintiffs can, if they

prevail, achieve these goals by making liability for TVPRA civil damages joint and

several and permitting sex-trafficking victims to pursue and receive punitive

damages. The conclusion that the TVPRA’s provision of civil liability is joint and

several follows directly from the TVPRA’s statutory text and structure and reflects

the general common law of torts.

       In 2008, Congress drastically expanded § 1595 to allow sex-trafficking

victims to sue those who knowingly benefited from their being sex trafficked.4

“Participation in a venture,” an essential part of a TVPRA beneficiary claim, means

“taking part in a common undertaking or enterprise involving risk and potential



       3
           Pub. L. 106-386, § 102(a), 114 Stat. 1464, 1466.
       4
           See supra n.1.
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profit.” Doe #1 v. Red Roof Inns, Inc., 21 F.4th 714, 726 (11th Cir. 2021). Congress

therefore knew that a beneficiary claim necessarily required others’ involvement to

trigger liability. K.M. v. Reva Props., LLC d/b/a Super 8, No. 1:22-cv-3991-TWT,

2024 WL 1217420, at *2 (N.D. Ga. Mar. 21, 2024) (Thrash, J.). Yet Congress said

nothing about apportionment in § 1595. Both the federal common law and the

TVPRA’s structure confirm that liability is joint and several under § 1595.

      A.     Federal common law calls for joint and several liability, not
             apportionment.

      When Congress creates a new tort action, it does so against the backdrop of

the general common law of torts. Staub, 562 U.S. at 417 (2011); see also Meyer v.

Holley, 537 U.S. 280, 285 (2003) (holding that “ordinary tort-related vicarious

liability rules” apply to discrimination claim under Fair Housing Act that was “in

effect, a tort action”). The TVPRA, like other federal statutes, was passed against

the backdrop of the federal common law of torts, which demands joint and several

liability, not apportionment.

      “[J]oint and several liability is the traditional rule.” Norfolk, 538 U.S. at 163

(rejecting apportionment under the Federal Employers’ Liability Act). It “applies

when there has been a judgment against multiple defendants,” and makes each

defendant “liable for the entire amount of the harm; provided, however, that the

plaintiff recover only once for the full amount.” Honeycutt v. United States, 581 U.S.

443, 447–48 (2017). It also applies where judgment is entered against one defendant

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for damages arising from a single, indivisible injury caused by the defendant and

one or more nonparties. See The Atlas, 93 U.S. 302, 306 (1876) (“An innocent party,

injured by the co-operative negligence of several persons, can sue them jointly or

severally, and recover from either compensation for the injury done by all.”).

       In rejecting the defendant’s effort to apportion liability under the Federal

Employers’ Liability Act, the Supreme Court in Norfolk was unpersuaded by the

claim that “the modern trend is to apportion damages between multiple tortfeasors.”

538 U.S. at 164. Rather, the Court noted that “many States retain full joint and

several liability,” “even more retain it in certain circumstances,” and “most of the

recent changes away from the traditional rule have come through legislative

enactments rather than judicial development of common-law principles.” Norfolk,

538 U.S. at 164–65. In other words, new legislative developments are not

expressions of the common law; they are examples of legislation abrogating the

default rule. Cf. FDIC v. Loudermilk, 305 Ga. 558, 576 (2019) (“Georgia’s

apportionment statute, O.C.G.A. § 51-12-33, did not abrogate Georgia’s common-

law rule imposing joint and several liability on persons who act in concert.”).

      Legislative silence about the common law does not abrogate it. For Congress

“to abrogate a common-law principle, the statute must speak directly to the question

addressed by the common law.” United States v. Texas, 507 U.S. 529, 534 (1993).

To overcome Congress’s “expectation that” “well established” common law rules

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apply, “a statutory purpose to the contrary” must be “evident.” Astoria Fed. Sav. &

Loan Ass’n, 501 U.S. at 108. The TVPRA exhibits no such purpose. In fact, as shown

below, the TVPRA’s text and the circumstances of its passage and amendment all

confirm Congress intended to preserve joint and several liability.

      B.     The TVPRA’s text confirms Congress intended to render civil
             defendants jointly and severally liable.

      The contrast between the TVPRA’s civil beneficiary provision and the

statute’s other remedial measures further shows that, in passing the TVPRA,

Congress did not abrogate the common law rule of joint and several liability. As

Judge Thrash has recognized, the TVPRA’s restitution statute “plainly does allow

for apportionment.” K.M., 2024 WL 1217420, at *2. That statute, 18 U.S.C.

§ 1593(b)(2), requires judges to order restitution to be “issued and enforced in

accordance with section 3664,” which, in turn, permits courts to “make each

defendant liable for payment of the full amount of restitution,” or to “apportion

liability among the defendants to reflect the level of contribution to the victim’s loss

and economic circumstances of each defendant.” Id.

      Congress’s choice not to mention apportionment in § 1595 when adding

beneficiary claims—even though “it was foreseeable that others would be involved

in these claims”—is telling, particularly in light of its direct statement about

apportionment in the TVPRA’s restitution statute. Id. After all, “when Congress

includes particular language in one section of a statute but omits it in another section

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of the same Act, it is generally presumed that Congress acts intentionally and

purposely in the disparate inclusion or exclusion.” Barnhart v. Sigmon Coal Co., 534

U.S. 438, 452 (2002). Thus, the omission of apportionment for civil beneficiary

claims is presumed to be intentional and purposeful.

      Indeed, as Judge Thrash also acknowledged, it would be “surprising that

Congress intended to permit apportionment without saying so”—especially “since

allowing civil beneficiary defendants to apportion fault to traffickers, individuals

who sexually assault victims, and other beneficiaries would drastically undermine

the effect of the civil beneficiary provision.” K.M., 2024 WL 1217420, at *2. The

notion that Congress’s silence is a tacit invitation to apportion is especially

improbable given Congress’s willingness to amend the TVPRA. Despite amending

§ 1595 four times since 2003,5 Congress has never added anything about

apportionment.

      Elsewhere, courts apply federal common law to speak where the TVPRA is

silent. For example, while the TVPRA’s civil liability provision is silent as to

punitive damages for civil beneficiary claims, courts have applied the general

common law of torts to fill the gaps and allowed plaintiffs to recover such damages.

      The Ninth Circuit was the first circuit to consider the question of punitive


      5
         See Pub. L. 110-457, Title II, § 221(2), 122 Stat. 5067 (2008); Pub. L. 114-
22, Title I, § 120, 129 Stat. 247 (2015); Pub. L. 115-164, § 6, 132 Stat. 1255 (2018);
Pub. L. 117-347, Title I, § 102, 136 Stat. 6200 (2023).
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damages under the TVPRA, and it found that the meaning of “damages” within

§ 1595(a) is “ambiguous: it could refer to compensatory damages, punitive damages,

nominal damages, or some combination of the three.” Ditullio v. Boehm, 662 F.3d

1091, 1096 (9th Cir. 2011).6 To resolve the ambiguity, the Ninth Circuit used

“common law principles” because “[t]he Supreme Court has looked to the common

law to determine the remedies available under federal statutes creating causes of

action sounding in tort.” Id. at 1097–98. And reasoning that punitive damages in tort

actions are “awarded against a person to punish him for his outrageous conduct and

to deter him and others like him from similar conduct in the future,” the Ninth Circuit

held that “punitive damages are available under 18 U.S.C. § 1595.” Id. at 1098. In

reaching this conclusion, the Ninth Circuit also relied on the Supreme Court’s

direction that, “absent clear direction to the contrary by Congress, the federal courts

have the power to award any appropriate relief in a cognizable cause of action

brought pursuant to a federal statute.” Franklin v. Gwinnett Cnty. Public Schs., 503

U.S. 60, 70–71 (1992); see also Ditullio, 662 F.3d at 1096 (quoting same language).

      Since Ditullio, the only other circuit to address the availability of punitive

damages under § 1595(a) has agreed—and did so without reservation. Francisco v.

Susano, 525 F. App’x 828, 835 (10th Cir. 2013). Other circuits have affirmed



      6
       Though Ditullio interpreted the TVPRA’s 2003 version, the interim changes
are immaterial to this point.
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punitive-damages awards in TVPRA cases without questioning the availability of

such damages. E.g., Warfaa v. Ali, 1 F.4th 289, 293, 296 (4th Cir. 2021) (affirming

punitive-damages award of $100,000 under § 1595); Roe v. Howard, 917 F.3d 229,

238, (4th Cir. 2019) (affirming punitive-damages award of $2 million under § 1595);

accord Adhikari v. Kellogg Brown & Root, Inc., 845 F.3d 184, 206 (5th Cir. 2017)

(distinguishing the TVPRA from Iraqi law because “the TVPRA authorizes punitive

damages”). Federal district courts around the country agree.7

      Just as courts apply federal common law to conclude the TVPRA

countenances punitive damages, this Court should apply federal common law to fill

the gaps on the issue of joint and several liability.




      7
          E.g., Moore v. Rubin, --- F. Supp. 3d ----, 2024 WL 1191135, at *8
(E.D.N.Y. Mar. 20, 2024) (“Rubin’s final argument is that the TVPA does not
provide for punitive damages. Every Court of Appeals to address this issue (as well
as a district court within this district) has held otherwise.”); Ross v. Jenkins, 325 F.
Supp. 3d 1141, 1175 (D. Kan. 2018) (holding that “plaintiff deserves to recover
punitive damages under the TVPRA and state human trafficking laws”); Carazani
v. Zegarra, 972 F. Supp. 2d 1, 26 (D.D.C. 2013) (“Where federal statutes sounding
in tort are silent on the availability of punitive damage, courts look to common law
principles to determine the scope of remedies. … Punitive damages are therefore
available under the TVPA.”); Treminio v. Crowley Mar. Corp., 649 F. Supp. 3d
1223, 1232 (M.D. Fla. 2023) (“Indeed, ‘[w]hile the TVPRA is silent on the issue of
indirect liability, numerous district courts have rejected the argument that the
TVPRA does not permit agency liability.’” (quoting J.L. v. Best W. Int’l, Inc., 521
F. Supp. 3d 1048, 1064–65 (D. Colo. 2021))); J.C. v. Choice Hotels Int’l, No. 20-
cv-155, 2020 WL 3035794, at *1 (N.D. Cal. June 5, 2020) (“[T]he TVPRA is silent
on the issue of indirect liability, which suggests that the federal common law of
agency should apply.” (citing Meyer v. Holley, 537 U.S. 280, 287–91 (2003)).
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       C.     Federal courts apply joint and several liability to federal causes of
              action.

       Under multiple federal statutes providing civil remedies like that provided in

the TVPRA, silence as to apportionment has led federal courts to rule that liability

is joint and several.

       For example, liability under 42 U.S.C. § 1983—another federal statute

creating a civil remedy compensating victims and holding wrongdoers to account—

is joint and several. E.g., Finch v. City of Vernon, 877 F.2d 1497, 1503 (11th Cir.

1989); Goudy v. Cummings, 922 F.3d 834, 843 (7th Cir. 2019). Likewise, courts have

often held that “federal law” governs “the availability of joint and several liability”

under the Fair Housing Act. Whyte v. Alston Mgmt., Inc., No. 10-cv-81041, 2012 WL

11789773, at *1 (S.D. Fla. Apr. 11, 2012) (collecting cases). In an action by the

Federal Trade Commission related to a fraudulent telemarketing scheme, the

Eleventh Circuit held that “joint and several liability was available.” FTC v. WV

Universal Mgmt., LLC, 877 F.3d 1234, 1236 (11th Cir. 2017). Joint and several

liability can arise either from the defendant’s participation in a “common enterprise”

or by providing “substantial assistance” to another person violating the

telemarketing regulations. Id. at 1239–40. In holding that “substantial assistance”

justified joint and several liability, the Eleventh Circuit emphasized that wrong’s

“resemblance to a well-established torts concept”: “aiding and abetting,” which “can

result in joint and several liability.” Id. at 1240. “In tort, the aider-abettor is liable to

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the injured party for the entire harm.” Id. at 1240-1.

      D.     Georgia’s apportionment statute cannot overcome federal law’s
             presumption favoring joint and several liability.

      Georgia’s apportionment statute—which abrogated “the traditional common

law rule of joint and several liability” in some circumstances for the purposes of

Georgia state law claims—does not supplant joint and several liability for federal

statutory claims.

      As explained above, there is a well-established body of federal common law

applying joint and several liability to federal statutory torts. And as Judge Thrash

noted in K.M., applying the apportionment statute instead of joint and several

liability would likewise undermine the TVPRA’s remedial purpose. 2024 WL

1217420, at *2.

      Not only that, courts applying the TVPRA have not interpreted it to allow for

apportionment of a TVPRA beneficiary claim. Plaintiff is not aware of any court

allowing apportionment of fault for a TVPRA beneficiary claim. “It would be

surprising if civil beneficiary defendants have always been permitted to apportion

their damages to nonparties but have never attempted to do so.” Id.

      E.     Under the general common law of torts, joint and several liability
             exists under additional grounds.

      The evidence will establish other bases for finding joint and several liability

under general common law, including aiding and abetting principles. See, e.g., FTC,


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877 F.3d at 1239–40. Further, the evidence will establish that Plaintiffs suffered a

single, indivisible injury due to being trafficked at United Inn, which also supports

a joint and several judgment.

       Applying general common-law principles of torts and damages, federal courts

hold that single, indivisible injuries call for joint and several liability. The Seventh

Circuit, for example, held that “[i]t is axiomatic that where several independent

actors concurrently or consecutively produce a single, indivisible injury, each actor

will be held jointly and severally liable for the entire injury. In such a case the injured

party may proceed to judgment against any or all of the responsible actors in a single

or in several different actions.” Watts v. Laurent, 774 F.2d 168, 179 (7th Cir. 1985)

(citing Restatement (Second) of Torts, §§ 875, 879). Likewise, the Supreme Court

in the admiralty context has noted that “the common law” permitted “an injured

party to sue a tortfeasor for the full amount of damages for an indivisible injury that

the tortfeasor’s negligence was a substantial factor in causing, even if the concurrent

negligence of others contributed to the incident.” Edmonds v. Compagnie Generale

Transatlantique, 443 U.S. 256, 260 (1979) (citing Restatement (Second) of Torts §§

433A, 875 (1965 and 1979) along with classic torts treatises by Thomas Cooley

(1879) and William Prosser (1971)). This is consistent with the Supreme Court’s

direction that, “[w]hen two or more causes produce a single, indivisible harm,”

courts should “refuse[] to make an arbitrary apportionment for its own sake, and

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each of the causes is charged with responsibility for the entire harm.” Burlington N.

& Santa Fe Ry. Co. v. United States, 556 U.S. 599, 614–15 (2009).

      The Eleventh Circuit recently discussed the relationship between the default

rule of joint and several liability and the possibility of apportionment for an

indivisible injury. In so doing, it held that “apportionment is appropriate only where

‘there are distinct harms’ or where ‘there is a reasonable basis for determining the

contribution of each cause to a single harm.” FTC, 877 F.3d at 1242 (quoting

Restatement (Second) of Torts § 433A(1)(a) & (b) (1965)). Because the harm was

indivisible and there was “no reasonable basis on which to determine the relative

contribution of [one defendant’s] conduct to the single harm,” the Eleventh Circuit

affirmed the joint and several judgment. Id. at 1242, 1244.

      This basis for joint and several liability applies to this case involving trauma

resulting from child sex trafficking, because parsing apart or apportioning Plaintiff’s

trauma from being sex trafficked as a child among various tortfeasors is not feasible.

      Furthermore, for purposes of federal principles of joint and several liability

(as opposed to Georgia principles), Plaintiff need not show individual tortfeasors

were working in concert or planned to inflict damage on Plaintiff. For example, a

court in the Southern District of Florida found joint and several liability proper on a

federal statutory claim, even where defendants were acting “perhaps independently.”

Whyte, 2012 WL 11789773, at *1–2. This is because it was impossible to divide

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Plaintiff’s emotional injury caused by the independent actions of others. Id. In sum,

evidence that Plaintiffs’ mental and emotional injuries are indivisible further

supports imposition of joint and several liability.

                                   CONCLUSION

      For the foregoing reasons, the Court should rule that joint and several liability

is available under the TVPRA.




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     Plaintiff’s Trial Brief on Punitive Damages under 18 U.S.C. § 1595(a)

      Plaintiff requests that the Court find that 18 U.S.C. § 1595(a) authorizes a

victim to recover punitive damages. In support, Plaintiff incorporates here, in full,

the argument and authority on pages 7 - 9 of her trial brief on joint and several

liability, in which she discussed punitive damages under the TVPRA. In summary,

Plaintiff highlighted that the Ninth and Tenth circuits have held that the TVPRA

authorizes recovery of punitive damages and so have numerous district courts

nationwide. In addition, the Fourth and Fifth circuits have approved punitive

damages awards in TVPRA cases without analyzing the issue. Plaintiff is unaware

of any federal court finding that 18 U.S.C. § 1595(a) does not permit recovery of

punitive damages. For these reasons, and those set forth more fully in the above-

referenced section of Plaintiff’s trial brief on joint and several liability, Plaintiff

requests that the Court find that 18 U.S.C. § 1595(a) authorizes a victim to recover

punitive damages.




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               Plaintiff’s Trial Brief on Deposition Designations of
                       United Inn’s 30(b)(6) Representative

      Plaintiff requests that the Court authorize her to play at trial certain designated

portions of a video recorded deposition of United Inn’s 30(b)(6) representative.

      At trial, Plaintiff’s counsel intends to play designated portions of United Inn’s

30(b)(6) representative’s testimony, and, separately, to call Tahir Shareef live as a

witness in his personal capacity (as the manager of United Inn). Though Mr. Shareef

served as United Inn’s 30(b)(6) representative, the 30(b)(6) testimony at issue is not

Mr. Shareef’s personal testimony. It is United Inn’s corporate testimony. With an

appropriate jury instruction, the jury would be so advised.

      United Inn’s counsel has suggested that it may object to Plaintiff playing

certain designated portions of the 30(b)(6) deposition because the corporate

representative, Tahir Shareef, will be present in the courtroom during the trial and

available to testify in person. In other words, United Inn’s objection (as Plaintiff’s

counsel understands it), may not be to the deposition itself, or to the designated

portions of the transcript that Plaintiff seeks to play, but instead to the concept of

playing a video recorded 30(b)(6) deposition when the 30(b)(6) representative is

present in the courtroom.

      In advance of the pre-trial conference, where Plaintiff’s counsel expect this

issue to be discussed in greater detail, Plaintiff’s counsel raises the following points

for the Court’s consideration:
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      Under Fed. R. Civ. P. 32(a)(3), “an adverse party may use for any purpose the

deposition of a party or anyone who, when deposed, was the party’s officer, director,

managing agent, or designee under Rule 30(b)(6) or 31(a)(4).” (emphasis added).

The plain language of the rule shows that it does not hinge on whether the 30(b)(6)

representative is absent from the courtroom at trial; that’s not a condition of the rule.

“As stated, the Rule permits a party to introduce the deposition of an adversary as

part of his substantive proof regardless of the adversary’s availability to testify at

trial.” Coughlin v. Capitol Cement Co., 571 F.2d 290, 308 (5th Cir. 1978)8; Walker

v. Banks, Finley, White & Co. of Georgia, P.C., No. 1:19-CV-5461-CAP, 2023 WL

11909753, at *9 (N.D. Ga. Jan. 3, 2023) (Pannell, J.) (“The defendant moves

preclude the plaintiff from presenting deposition designations for witnesses who are

available to testify at trial. … With respect to White, Sr. Rule 32(a)(3) specifically

allows the use of his Rule 30(b)(6) deposition by the plaintiff.”); In Re 3M Combat

Arms Earplug Prods., No. 3:19-MD-2885, 2022 WL 822460, at *6 (N.D. Fla. Jan.

26, 2022), report and recommendation adopted sub nom. In re: 3M Combat Arms

Earplug Prods. Liab. Litig., No. 3:19MD2885, 2022 WL 741934 (N.D. Fla. Mar. 11,

2022) (“Thus, Plaintiffs, as adverse parties, are entitled to use Berger’s 30(b)(6)




      8
        In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en
banc), this court adopted as binding precedent all decisions of the former Fifth
Circuit handed down prior to October 1, 1981.
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deposition testimony ‘for any purpose,’ independent of whether Berger is or is not

unavailable.”)

      Even if Rule 32(a)(3) did not resolve it (it does), other provisions in the same

rule justify admission of the subject 30(b)(6) deposition designations. Indeed, Rule

32(a)(1) says: “At a hearing or trial, all or part of a deposition may be used against

a party on these conditions: (A) the party was present or represented at the taking

of the deposition or had reasonable notice of it; (B) it is used to the extent it would

be admissible under the Federal Rules of Evidence if the deponent were present and

testifying; and (C) the use is allowed by Rule 32(a)(2) through (8).” (emphasis

added). Each of those conditions is met here—United Inn had reasonable notice of

the subject 30(b)(6) depositions and was represented by counsel, the testimony is

admissible under Fed. R. Evid., 801(d)(2)(C) and (D) (as an admission by party

opponent), and its use is allowed by Rules 32(a)(2) through (8).

      Therefore, Federal Rule of Civil Procedure 32(a)(3) and Federal Rules of

Evidence 801(d)(2)(C) and (D)9 permit Plaintiff to play portions of United Inn’s


      9
        Rule 801(d)(2) provides an independent basis for the admission of the
subject 30(b)(6) deposition testimony. See, e.g., In re Reserve Fund Sec. &
Derivative Litig., No. 09 CIV. 4346, 2012 WL 12354233, at *4 n.5 (S.D.N.Y. Oct.
3, 2012) (“Depositions admissible under Fed. R. Evid. 801(d)(2) need not be
separately analyzed under Fed. R. Civ. P. 32(a).”); see also MF Glob. Holdings Ltd.
v. PricewaterhouseCoopers LLP, 232 F. Supp. 3d 558, 574 (S.D.N.Y. 2017) (“Rule
801(d)(2)(D) provides an independent basis — separate from Rule 32(a)(3)—for
admitting deposition testimony.”); Carpenter v. Forest Meadows Owners Ass'n, No.

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30(b)(6) deposition, and, separately, to call Mr. Shareef in his individual capacity at

trial. Neither set of rules says that a 30(b)(6) deposition may be used only if the

30(b)(6) deponent will not be present in the courtroom at trial. That is not a relevant

condition.10

      Undersigned counsel recognizes that under Federal Rule of Evidence 611 the

court can manage the presentation of evidence to streamline trials. Counsel intends

to try a direct and efficient case. To that end, undersigned counsel will not duplicate

or repeat questions covered in the designated video-recorded portions of the 30(b)(6)

deposition in Mr. Shareef’s personal testimony. In Mr. Shareef’s live examination in

his personal capacity, Plaintiff’s counsel would cover new ground.

      United Inn’s proposal—that Plaintiff be required to call Mr. Shareef live to

cover both 30(b)(6) topics and to answer questions in his individual capacity—

would violate the foregoing rules, and lead to jury confusion and inefficiency/delay.

As to jury confusion, Plaintiff’s counsel would have to navigate the arduous task of



1:09-cv-01918-JLT, 2011 WL 3207778, at *5 (E.D. Cal. July 27, 2011) (“The Court
agrees that the Federal Rules of Evidence provide an independent basis from Rule
32(a)(3) for admitting deposition testimony.”); Fair Fight Action, Inc. v.
Raffensperger, 599 F. Supp. 3d 1337, 1343 (Jones, J.) (N.D. Ga. 2022) (“Because
Mr. Harp's testimony may be imputed to the SEB under Rule 801(d)(2)(D), the Court
declines to address Plaintiffs’ second argument concerning whether Mr. Harp's
testimony may also be imputed to the SEB under Rule 32(a)(3).”)
      10
         True, Fed. R. Civ. P. 32(a)(4) asks whether “a witness” is “unavailable.”
But that is not the rule on point here. Rule 32(a)(3) specifically concerns the
deposition at issue here—that is, the “deposition of a party, agent, or designee.”
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questioning Mr. Shareef in one examination in both his personal capacity and in his

30(b)(6) capacity, and then sift through the same issues as part of any impeachment.

As to inefficiency and delay, if (and more likely, when) there were contradictions

between Mr. Shareef’s testimony, and the prior video-recorded 30(b)(6) deposition,

Plaintiff would need to impeach Mr. Shareef with the transcript from the prior

30(b)(6) deposition, which would lead to inefficiency and delay. 11 The probability

and frequency of time-consuming impeachments would be reduced materially by

allowing Plaintiff’s counsel—in conformity with the Federal Rules of Civil

Procedure—to play designated portions of United Inn’s 30(b)(6) deposition, and,

separately, to call Mr. Shareef in his personal capacity to cover new ground (e.g.,

documents and issues not addressed in the video excerpts).

      For these reasons, Plaintiff requests that the Court authorize her to play at trial

certain designated portions of a video recorded deposition of United Inn’s 30(b)(6)

representative.




      11
         Plaintiff’s counsel anticipates impeachments would be necessary because
Mr. Shareef was deposed as United Inn’s 30(b)(6) representative twice following
United Inn’s discovery misconduct. In the second deposition, his testimony differed
on key points from the first deposition.
      While Plaintiff’s counsel of course reserves the right to impeach Mr. Shareef
as warranted at trial, undersigned counsel represents to the court that it is likely that
the need for and frequency of impeachments would be reduced by allowing Plaintiff
to proceed her with stated plan, which is also authorized by the Federal Rules.
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               Plaintiff’s Trial Brief on Adverse Inference at Trial

      Plaintiff requests that the Court grant her request for an adverse inference at

trial stemming from United Inn’s failure (or refusal) to identify all people who

worked at the hotel during the relevant period and to provide their contact

information. In failing to do so, United Inn violated Rules 26(a) and (e).

      In October 2023 (before the Eleventh Circuit issued its unpublished, per

curiam Riti opinion), Plaintiff’s counsel wrote in her motion for sanctions:

      Defendant should not be allowed to introduce evidence or argument at trial
      that its staff never reported concerns about commercial sex at the hotel, …
      and that none of its staff had criminal records or were complicit in crime at
      the hotel, because it has produced inconsistent, incomplete information about
      who worked at the hotel. Plaintiff cannot confront Defendant’s claims about
      staff reports of crime, staff trainings, and vetting of staff because Plaintiff does
      not know who Defendant’s employees were and cannot find them. …
      Alternatively, Plaintiff requests a jury instruction on how Defendant’s
      conflicting and partial staff records compromised Plaintiff’s ability to
      examine Defendant’s claims about staff crime reports, staff trainings, and
      vetting of staff, among other topics.

(Doc. 86 at 27-28) (emphasis added). Post-Riti, Plaintiff’s counsel’s request has

even greater urgency. Indeed, because of United Inn’s discovery abuse, Plaintiff’s

ability to prove “some connection between the hotel operator’s and the trafficker’s

actions,” and identifiable “actions the operator took to advance the object of the joint

undertaking,” (Doc. 138 at 19), has been prejudiced materially.12


      12
         Plaintiff incorporates the arguments she previously raised in her sanctions
briefing (Doc. 86, 91), and in her motion in limine (Doc. 161 at 30 – 32), regarding

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      In advance of trial, Plaintiff submitted to United Inn three proposed

stipulations regarding the discovery misconduct at issue:

        i.   At all relevant times, Northbrook Industries, Inc. d/b/a United Inn &

             Suites did not keep records to identify all of the people who worked at

             the hotel.

       ii.   In discovery, Northbrook Industries, Inc. d/b/a United Inn & Suites

             produced different lists of staff who worked at the hotel during the

             relevant period.

      iii.   At all relevant times, Northbrook Industries, Inc. d/b/a United Inn &

             Suites paid at least some of the people who worked at the hotel in cash

             and did not maintain tax records.

      United Inn refused to agree to any of these proposed stipulations.

      In her draft proposed jury instructions, which she has sent to opposing

counsel, Plaintiff proposed the below jury instruction from Federal Jury Practice

and Instructions:

              Failure to Produce Evidence Under Party’s Control

      If a party fails to produce evidence under that party’s control and reasonably
      available to that party and not reasonably available to the adverse party, then
      you may infer that the evidence is unfavorable to the party who could have


the prejudice she has suffered (and will suffer at trial) because of United Inn’s
violation of discovery rules. References to page numbers are to the CM-ECF page
numbers stamped on the as-filed document.
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      produced it and did not. 3 Kevin F. O'Malley, Jay E. Grenig, & William C.
      Lee, Federal Jury Practice and Instructions § 104:26 (7th ed.).

      Plaintiff has not yet received United Inn’s response but anticipates United Inn

will object. In the meantime, Plaintiff raises this issue for the Court’s consideration

in advance of the pre-trial conference.

      This 23rd day of June, 2025.

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                         CERTIFICATE OF COMPLIANCE

      This is to certify that the foregoing pleading has been prepared with a font and

point selection approved by the Court in LR 5.1., NDGA. Specifically, the above-

mentioned pleading was prepared using Times New Roman font of 14-point size.

                                       Respectfully submitted,

                                       /s/ David H. Bouchard
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                            CERTIFICATE OF SERVICE

      The undersigned hereby certify that Plaintiff, through her attorneys, has

served a true and correct copy of the foregoing pleading into this District’s ECF

System, which will automatically forward a copy to counsel of record in this matter.

      Dated: This 23rd day of June, 2025.

                                             /s/ David H. Bouchard
                                             David H. Bouchard
                                             david@finchmccranie.com
                                             Georgia Bar No. 712859

                                             Attorney for Plaintiff
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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

J.G.,                                    )
                                         )
        Plaintiff,                       )
                                         )     Civil Action File
v.                                       )     No. 1:20-cv-05233-SEG
                                         )
NORTHBROOK INDUSTRIES, INC.,             )
d/b/a UNITED INN AND SUITES,             )
                                         )
        Defendant.                       )




                          DEFENDANT’S TRIAL BRIEF
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       COMES NOW Defendant Northbrook Industries, Inc., d/b/a United Inn and

Suites (“Northbrook”), and hereby submits its trial brief in advance of the jury trial

in this matter scheduled to begin on July 7, 2025.

       This is a hotel sex-trafficking case. The plaintiff, proceeding under the

initials “J.G.” to protect her identity (“J.G.” or “Plaintiff”), alleges that while a

minor she was trafficked for sex at United Inn and Suites (“United Inn”), an

independent hotel owned and operated by Northbrook, for five weeks in October

and November 2018 and for two to three days in January of 2019.

       The sole substantive claim remaining in the case is Plaintiff’s claim under

the “beneficiary” provision of the Trafficking Victims Protection Reauthorization

Act (“TVPRA”), 18 U.S.C. § 1595(a).

       In this brief, Northbrook addresses several outstanding legal issues

pertaining to the trial.



I.     The jury should be permitted to apportion fault among parties and
       nonparties.

       Northbrook seeks to have the Court allow the jury to apportion damages –

that is, to assign relative fault for Plaintiff’s injury and harm among Northbrook,

Plaintiff and other nonparties. In this way, in the event of a Plaintiff’s verdict, the

amount of damages awarded against Northbrook would be reflective of

Northbrook’s fault relative to other persons and entities. This would include not
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only Plaintiff’s alleged traffickers at United Inn, but also persons and entities

involved in Plaintiff’s trafficking at another, unrelated, property, Stone Mountain

Inn.

         In contrast, Plaintiff will argue for joint and several liability – that is, that

Northbrook can be held liable for 100% of Plaintiff’s damages even though other

persons or entities – even Plaintiff herself – may be responsible for some portion of

the injury or harm she claims.

         The TVPRA is silent on the issue of whether apportionment, or joint and

several liability, applies to civil claims brought under 18 U.S.C. § 1595(a).

         Northbrook is not aware of any federal appellate decisions on the issue of

whether apportionment, or joint and several liability, applies to the TVPRA. There

is one trial court decision in this district 1 on the issue. In W.K. v. Red Roof Inns,

Inc., Civil Action No. 1:20-cv-05263-VMC, 2024 WL 2892322 (N.D. Ga. June 10,

2024), Judge Calvert held that damages under the TVPRA are joint and several.

2024 WL 2892322, at *2-3.2 The crux of Judge Calvert’s analysis is the premise


1
 Plaintiff has previously cited to K.M. v. Reva Properties, LLC, Civil Action File
No. 1:22-CV-3991-TWT, 2024 WL 1217420 (N.D. Ga. March 21, 2024).
However, in K.M., Judge Thrash did not actually render a decision on whether
apportionment applies to the TVPRA. Instead, the court denied the plaintiff’s
early motion to strike the defendant’s notice of intention to apportion fault.
2
  The W.K. matter settled during trial and thus the apportionment issue was never
taken up on appeal.


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that “[j]oint and several liability is the traditional rule for federal torts.” 2024 WL

2892322, at *1. However, federal common law “generally comports with” the

Restatement of Torts.     U.S. v. Milner, 583 F.3d 1174, 1182 (9th Cir. 2009)

(applying Restatement of Torts to federal trespass action). 3 And the Restatement

provides, in relevant part:

      Damages for harm are to be apportioned among two or more causes
      where

      (a)    there are distinct harms, or

      (b)    there is a reasonable basis for determining the contribution of
             each cause to a single harm.

Restatement (Second) of Torts § 433A (Am. Law Inst. 1965).

      The present situation fits either mold. There may be “distinct harms” – that

is, various episodes of Plaintiff being trafficked in different hotels by different

traffickers, each contributing in some way to Plaintiff’s non-economic damages.

Alternatively, there may be a “single harm” – that is, harm to Plaintiff from having

been sex-trafficked generally, as to which Plaintiff’s own testimony as to her

3
  The Eleventh Circuit looks to the Restatement for guidance on federal common
law in a variety of contexts. See, e.g., Various Insurers v. Gen. Elec. Int’l, Inc.,
131 F.4th 1273, 1277 (11th Cir. 2025) (third-party beneficiary); Griffin v. Coca-
Cola Refreshments USA, Inc., 989 F.3d 923, 932 (11th Cir. 2021) (ERISA);
Morewitz v. W. of England Ship Owners Mut. Prot. & Indem. Ass’n, 62 F.3d
1356, 1363 n.13 (11th Cir. 1995) (conflict of laws). This Court has also pointed to
the Restatement as a source of common-law principles to be applied to federal
statutes. See Summary Judgment Order, Dkt. # 138, at 26-27 (quoting United
States Supreme Court’s reference to Restatement of Agency to ascertain federal
common law standard of vicarious liability).

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experiences will guide the jury in determining the relative contribution of each

party or nonparty to that harm. Either way, the Restatement contemplates an

apportionment of damages.

      Also, state law can be instructive on the federal common law affecting torts.

“In some instances, controversies governed by federal law do not inevitably

require resort to uniform federal rules, and it may be appropriate to borrow from

state law for the rule of decision.” Milner, 583 F.3d at 1182 n.6 (some internal

punctuation omitted); Fed. Deposit Ins. Corp. v. Ashley, 749 F. Supp. 1065, 1067

(D. Kan. 1990) (incorporating state law of comparative negligence as federal rule

of decision). Here, state law would militate in favor of apportionment. Section 51-

12-33 of the Official Code of Georgia Annotated is Georgia’s apportionment

statute. In general, it provides a framework by which damages in tort actions may

be apportioned among parties and nonparties according to levels of relative fault

assigned by the fact finder. See generally O.C.G.A. § 51-12-33(b).4,5


4
  Judge Calvert concluded in W.K. that Georgia’s apportionment statute would not
apply to the TVPRA because “[u]nder Georgia law, the apportionment statute does
not abrogate the common law of joint and several liability when tortfeasors engage
in concerted action or a civil conspiracy” that results in indivisible fault. 2024 WL
2892322, at *2-3. However, that analysis does not fully encompass the situation
here, where Plaintiff alleges she was trafficked at different times, in different
places, by different traffickers who did not act in concert or conspire with one
another.

5
 Northbrook has complied with the requirement of O.C.G.A. § 51-12-33(d) that a
defendant contending that a nonparty was wholly or partially at fault must give

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        In short, both federal common law, and borrowed state law, support the

apportionment of fault among parties and nonparties to this action, with any

damages awarded against Northbrook limited to its relative degree of fault.6



II.     Punitive damages are not recoverable under the TVPRA.

        Plaintiff has signaled her intention, if she is successful on her TVPRA claim,

to also seek an award of punitive damages. It is Northbrook’s contention that

punitive damages are not recoverable under the TVPRA.

        The TVPRA expressly states the types of recovery available to a successful

plaintiff on a TVPRA claim, and punitive damages is not one of them. Instead, the

statute contemplates that the successful plaintiff “may recover damages and

reasonable attorneys fees.” 18 U.S.C. § 1595(a). There is no reference to punitive

damages.



notice not later than 120 days prior to trial of its intention to seek apportionment.
Northbrook filed such notice on October 11, 2023, in which it asserts notice of its
intention to seek apportionment against nonparties such as Plaintiff’s traffickers
and their accomplices, as well as the corporate entities behind Stone Mountain Inn,
where Plaintiff was also trafficked. [Dkt. #85]
6
  Regardless of how this Court ultimately rules on apportionment, Northbrook
should be permitted to introduce evidence, obtain jury instructions and present
argument on other common-law principles, such as causation and damages, by
which a jury could consider the role of other incidents of sexual trauma, and the
conduct of other persons – including Plaintiff herself – in Plaintiff’s alleged injury
and damages.


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      The Eleventh Circuit has not ruled on the issue of whether a successful

TVPRA plaintiff can seek punitive damages. However, the Eleventh Circuit, as

well as trial courts in this district, have rejected claims for punitive damages for

violation of a federal statute where the statute does not expressly contemplate

recovery of punitive damages. This practice has been applied to a wide range of

federal statutes. See, e.g., Lengen v. Dept. of Transp., 903 F.2d 1464, 1468 (11th

Cir. 1990) (Rehabilitation Act); Bishop v. Osborn Transp., Inc., 838 F.2d 1173,

1174 (11th Cir. 1988) (affirming denial of punitive damages in ERISA case;

“nothing in the statutory language . . . supports the employee’s position that

punitive damages are recoverable . . . .”); Walker v. Ford Motor Co., 684 F.2d

1355, 1364 (11th Cir. 1982) (Title VII); Gober v. Newton Cty. Bd. of Health, Civil

Action No. 1:21-cv-01612-WMR-CCB, 2021 WL 7632542, at *12 (N.D. Ga. Dec.

17, 2021) (in Family Medical Leave Act (“FMLA”) case, recommending granting

motion to strike any prayer for relief; “[u]nder the FMLA, punitive damages are . .

. not available,” citing to case from sister court “noting that the FMLA does not

provide for punitive damages.”); Cason v Coca-Cola Co., Civil Action No. 1:17-

CV-3891-JPB-JSA, 2020 WL 13654235, at *25 (N.D. Ga. March 23, 2020) (in

Fair Labor Standards Act (“FLSA”) case, granting summary judgment on

standalone claim for punitive damages; “[t]he only claim that would survive to trial

. . . would be Plaintiff’s FLSA claim, which does not provide for ‘punitive’



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damages”); Best v. Marix Servicing, LLC, Civil Action No. 1:11-CV-2233-AT,

2013 WL 12100762, at *15 (N.D. Ga. Sept. 10, 2013) (dismissing claim for

punitive damages in Real Estate Settlement Procedures Act (“RESPA”) case;

“RESPA does not provide for punitive damages for a violation of [the statute].”);

Hennington v. Bank of Am., Civil Action File No. 1:10-CV-1350-WSD, 2010 WL

5860296, at *9 n.15 (N.D. Ga. Dec. 21, 2010) (dismissing claim for “sanctions” in

Truth in Lending Act (“TILA”) case; “TILA does not provide for punitive

damages”). See also Aronson v. Creditrust Corp., 7 F. Supp. 2d 589, 593-94

(W.D. Pa. 1998) (in Fair Debt Collection Practices Act (“FDCPA”) case, in

analysis of statutory language, “[n]otably there is no reference to punitive damages

being an option. Based upon the plain language of the statute, and in the absence

of any legislative history to the contrary, I find that punitive damages are not

recoverable under the FDCPA.”).

      Northbrook acknowledges that the Ninth and Tenth circuits have ruled that

punitive damages are available under the TVPRA. See Ditullio v. Boehm, 662

F.3d 1091 (9th Cir. 2011); Francisco v. Susano, 525 F. App’x 828 (10th Cir. 2013).

However, these decisions are predicated on an interpretation of the TVPRA that

differs in material respects from the way in which the statute has been interpreted

in the Eleventh Circuit.




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      In Ditullio, the Ninth Circuit considered whether the TVPA (the predecessor

to the TVPRA) allowed for an award of punitive damages to a successful plaintiff.

The court observed that “[a] plaintiff bringing a civil action under the TVPA must

prove that the defendant has engaged in human trafficking, which Congress

described as ‘a contemporary manifestation of slavery,’” and that “[s]uch conduct

obviously meets the common law standards for award of punitive damages because

it is both intentional and outrageous.” 662 F.3d at 1098.

      This description by the Ninth Circuit of what gives rise to civil liability

under the TVPA is vastly different from the Eleventh Circuit’s interpretation of the

TVPRA. While the Ditullio court stated that a successful TVPA plaintiff “must

prove that the defendant has engaged in human trafficking,” the Eleventh Circuit,

in Doe #1 v. Red Roof Inns, Inc., 21 F.4th 714 (11th Cir. 2021), declined to

“transpos[e] the statutory definition from [the] criminal section to the civil cause of

action.” 21 F.4th at 724. The result is that, in this circuit, “participation in a

venture” does not require participation in human trafficking. Thus, as this Court

stated in its summary judgment order in the present case:

      The result here for Plaintiff is that she need not show, for purposes of
      proving “participation in a venture,” that Northbrook “knowingly
      assist[ed], support[ed], or facilitate[ed] an act of sex trafficking, as
      would be required under the criminal code provision. . . . Put another
      way, J.G. need not show that Northbrook participated directly in sex
      trafficking.




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Summary Judgment Order, [Dkt. #138] at 15; see also id. at 13 (finding that

Plaintiff need not make a showing that Northbrook “was ‘in on’ Plaintiff’s sex

trafficking” or that Northbrook “took part with others in a ‘common undertaking of

sex trafficking.’”) (emphasis in original).

      In short, the Ditullio court decided that the TVPA must be read to provide

for punitive damages because a person held liable under its provisions must have

“engaged in sex trafficking” – i.e., conduct that is so outrageous as to rise to the

level of a crime. See Ditullio, 662 F.3d at 1097 (“Punitive damages are warranted

when the defendant is found liable for conduct involving some element of outrage

similar to that usually found in crime.”) (internal quotation marks omitted).7 But

the Eleventh Circuit does not interpret the TVPRA to require a defendant to have

engaged in sex trafficking for civil liability to attach, and thus the Ninth Circuit’s

reasoning in Ditullio that a TVPA violation justifies a punitive damages award

does not apply with equal force here.

      Similarly, the Ditullio court opines that punitive damages are appropriate

under the TVPA because the conduct that is the subject of the statute is

“intentional.” 662 F.3d at 1098. However, in Red Roof, the Eleventh Circuit

explained that liability under the TVPRA does not require that a defendant

7
  The Ninth Circuit’s analysis may have been influenced by the fact that the
defendant in Ditullio was, in fact, a criminal – he had previously pled guilty to
conspiracy to commit sex trafficking of children. 662 F.3d at 1094.


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“knowingly” assisted, supported or facilitated sex trafficking, as would be required

for criminal liability. 21 F.4th at 724. In this circuit, TVPRA liability can attach

even for unintentional conduct – that is, when the defendant had not actual

knowledge, but mere constructive knowledge – i.e., “should have known” – that a

violation of the TVPRA as to the plaintiff was occurring. 21 F.4th at 725. Simply

put, the Ninth Circuit’s standard for what constitutes actionable conduct under the

TVPRA – intentional and outrageous acts akin to criminal conduct that would

naturally give rise to an award of punitive damages – is not the same standard in

effect in the Eleventh Circuit. 8

      Northbrook submits that a more appropriate analysis in view of the Eleventh

Circuit’s different interpretation of the TVPRA is that expressed by Judge

Consuelo Callahan in her dissent in Ditullio. Judge Callahan opined that the

TVPRA should not be interpreted to provide for an award of punitive damages, for

the following reasons:

            The majority in Ditullio concluded that punitive damages are

recoverable under the TVPRA; however, the majority’s reliance on common law is

misplaced. By 2000, when the TVPA was enacted, “whether a federal statute

authorized punitive damages depended on Congressional intent rather than on the

8
  The Tenth Circuit’s opinion in Francisco came two years after the Ditullio
decision and relied heavily on the Ninth Circuit’s conclusion therein. See, e.g.,
Francisco, 525 F. App’x at 835 (“We thus agree with the only other circuit to
address the matter and hold punitive damages to be available under § 1595.”).

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existing common law.” 662 F.3d at 1103 (tracing history of Section 1983, Title VII

and amendment of Tax Code treatment of punitive damages as representative of

Congress’ “ability to include, or not include, claims for punitive damages when it

enacts legislation.”).

            While a first draft of the TVPA provided for a civil action and for

damages to include punitive damages, the actual statute as enacted in 2000 did not

create a private cause of action for damages, ordinary or punitive. Id. at 1104.

            Congress reconsidered the TVPA in 2003. An initial draft of a civil

damages provision contained language expressly contemplating an award of

punitive damages. However, when the law was actually enacted, “[t]he provision

for punitive damages was dropped,” possibly as a compromise in response to a

letter from the Department of Justice opposing the creation of a private right of

action in the first instance. Id.

            Congress’ omission of a punitive damages remedy from the TVPRA

must be given effect. “It is an elemental canon of statutory construction that where

a statute expressly provides a particular remedy or remedies, a court must be chary

of reading others into it.” Id. at 1105 (quoting Transamerica Mortg. Advisors, Inc.

(TAMA) v. Lewis, 444 U.S. 11, 19 (1979)).

      As Judge Callahan concludes,

      In sum, a review of the TVPA’s legislative history shows that far from
      deferring to federal common law, Congress in 2003, when it created a

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      private cause of action under TVPA, considered and declined to adopt
      language authorizing punitive damages. . . .

      TVPA’s legislative history shows that Congress deliberately limited
      civil remedies to compensatory damages and attorneys’ fees. We
      should not go further.

Id. at 1104-05 (Callahan, J., dissenting).

      Plaintiff will likely argue that the general reference to “damages” in the

language of the TVPRA is broad enough to encompass punitive, as well as

compensatory, damages. However, Congress has expressly authorized a remedy of

punitive damages in a wide variety of other contexts, literally using the term

“punitive damages” in the text of the statute. See, e.g., 15 U.S.C. § 1691e (Equal

Credit Opportunity Act); 18 U.S.C. § 2520 (civil remedies for unauthorized use of

intercepted wires); 49 U.S.C. § 20109 (railroad employee discrimination); 50

U.S.C. § 1810 (civil liability for foreign intelligence surveillance); 18 U.S.C. § 248

(civil liability for denying access to reproductive health clinic entrances); 25

U.S.C. § 305e (misrepresentation of Indian produced goods); 15 U.S.C. § 1679g

(consumer credit repair practices).          “[W]here Congress knows how to say

something but chooses not to, its silence is controlling.” U.S. v. Pate, 84 F.4th

1196, 1202 (11th Cir. 2023). Congress intentionally omitted reference to punitive

damages under the TVPRA. Thus, as Judge Callahan concluded, “we should not

go further.” Ditullio, 662 F.3d at 1105 (Callahan, J., dissenting).




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         For all of the foregoing reasons, even if Plaintiff were to prevail on her

TVPRA claim, she should be precluded from seeking punitive damages.9



III.     Plaintiff’s claims for fees, costs and expenses are unsupportable under
         specific cited statutes.

         Plaintiff states in the current iteration of the proposed Pretrial Order that she

“will seek to recover her reasonable attorneys’ fees, costs, and expenses under the

TVPRA, O.C.G.A. § 13-6-11, O.C.G.A. § 9-11-68, and any other fee-shifting

authority.” See Proposed Consolidated Pretrial Order [Dkt. # 141], Attachment

“C.”

         Northbrook notes the following:

              While the TVPRA contemplates that a plaintiff may recover

“damages and reasonable attorneys fees,” 18 U.S.C. § 1595(a), it says nothing

about the recovery of costs or expenses of litigation.

              Any claim by Plaintiff for attorney’s fees or other expenses of

litigation pursuant to O.C.G.A. § 13-6-11 10 is without merit, as Plaintiff’s sole


9
 Northbrook further notes that O.C.G.A. § 51-12-5.1, which is Georgia’s punitive
damages statute, does not afford Plaintiff the opportunity to seek punitive damages
because Plaintiff’s state-law claim for negligence/premises liability was dismissed
on summary judgment. [Dkt. #138]
10
   “The expenses of litigation generally shall not be allowed as a part of the
damages; but where the plaintiff has specially pleaded and has made prayer
therefor and where the defendant has acted in bad faith, has been stubbornly

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substantive state-law claim – for premises liability/negligence – was dismissed at

summary judgment. [Dkt. #138] Plaintiff’s § 13-6-11 claim was derivative of her

state-law substantive claim only.     When the state-law substantive claim was

dismissed, so, too, was the state-law derivative claim for expenses of litigation

under § 13-6-11, notwithstanding the remaining federal claim under the TVPRA.

See Perkins v. Thrasher, 701 F. App’x 887, 891 (11th Cir. 2017) (granting

summary judgment to defendant on O.C.G.A. § 13-6-11 claim when state-law

substantive claims dismissed, notwithstanding pendency of federal § 1983 claims).

            Similarly, any claim by Plaintiff for reasonable attorney’s fees and

expenses under O.C.G.A. § 9-11-68 11 is without merit, as Plaintiff’s sole

substantive state-law claim – for premises liability/negligence – was dismissed at

summary judgment. [Dkt. #138] “That O.C.G.A. § 9-11-68 only applies to state

tort claims is not controversial.” Leonard v. State Farm Mut. Auto. Ins. Co., Civil

Action No. 1:14-CV-1074-AT, 2014 WL 12219378, at *3 (N.D. Ga. June 17,

2014) (emphasis added).



litigious, or has caused the plaintiff unnecessary trouble and expense, the jury may
allow them.” O.C.G.A. § 13-6-11.
11
   O.C.G.A. § 9-11-68 is Georgia’s “offer of settlement” statute. In general terms,
it provides for a plaintiff to recover certain reasonable attorney’s fees and expenses
of litigation if the plaintiff presents a qualifying offer of settlement to the
defendant, the defendant rejects the offer, and the plaintiff then recovers a final
judgment in an amount greater than 125 percent of the offer of settlement.

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                              Respectfully submitted,


                               /s/ Dana M. Richens
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                              Northbrook Industries, Inc.,
                              d/b/a United Inn and Suites




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this date filed the within and foregoing

DEFENDANT’S TRIAL BRIEF using the Court’s CM/ECF electronic filing

system, which will automatically provide notice of filing constituting service to all

counsel of record.

      This 23rd day of June, 2025.



                                               /s/ Dana M. Richens
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

J.G.,                                        :
                                             :
               Plaintiff,                    :
                                             :        CIVIL ACTION FILE
        vs.                                  :
                                             :        NO. 1:20-cv-05233-SEG
NORTHBROOK INDUSTRIES,                       :
INC., D/B/A UNITED INN AND                   :
SUITES,                                      :
                                             :
               Defendant.                    :

                                       VERDICT FORM

   1. Is United Inn liable to Jhordyn under the TVPRA?

        Circle one:           YES                     NO

        If you answered Yes, please proceed to question 2 below.

        If you answered No, please sign and date the verdict form, as this ends your deliberations.



   2. The amount of Jhordyn’s damages is: $_______________________


                                                      _________________________________
                                                      Jury Foreperson


                                                      _________________________________
                                                      Print Name


                                                      _________________________________
                                                      Date



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                         VERDICT FORM – PHASE TWO

1. Is United Inn liable to Jhordyn for punitive damages?

   Circle one:           YES                    NO

   If you answered Yes, please proceed to question 2 below.

   If you answered No, please sign and date the verdict form, as this ends your deliberations.



2. The amount of punitive damages imposed against United Inn is: $__________________



                                                _________________________________
                                                Jury Foreperson


                                                _________________________________
                                                Print Name


                                                _________________________________
                                                Date




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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

J.G.,                                         )
                                              )
        Plaintiff,                            )
                                              )      Civil Action File
v.                                            )      No. 1:20-cv-05233-SEG
                                              )
NORTHBROOK INDUSTRIES, INC.,                  )
d/b/a UNITED INN AND SUITES,                  )
                                              )
        Defendant.                            )



                     DEFENDANT’S PROPOSED VERDICT FORM
                      (VERSION #1: WITH APPORTIONMENT)


      1.    Do you find that Jhordyn was a victim of sex trafficking at United Inn
and Suites?

               Answer “Yes” or “No”

               ____ YES               ____ NO


      2.    Do you find that Northbrook participated in a venture with one or more
of Jhordyn’s traffickers at United Inn?

               Answer “Yes” or “No”

               ____ YES               ____ NO




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      3.     Do you find that Northbrook knowingly benefited from participation in
the venture described in Question #2?

            Answer “Yes” or “No”

            ____ YES                 ____ NO


      4.    Do you find that the venture described in Question #2 above caused
Jhordyn, a minor, to engage in a commercial sex act?

            Answer “Yes” or “No”

            ____ YES                 ____ NO


      5.    Do you find that Northbrook knew or should have known that Jhordyn
was a minor?

            Answer “Yes” or “No”

            ____ YES                 ____ NO


      6.    Do you find that Northbrook knew or should have known that the
venture described in Question #2 above caused Jhordyn to engage in a commercial
sex act?

            Answer “Yes” or “No”

            ____ YES                 ____ NO


INSTRUCTION: If you have answered “Yes” to all of Questions ##1 through 6
above, then proceed to Question #7. Otherwise, STOP HERE, and have the
foreperson sign the verdict form. You do not need to answer any further questions.

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      7.     What amount of damages, if any, do you award to Jhordyn?

             $ ______________________

INSTRUCTION: Proceed to Question #8.

       8.    If you find any of the persons or entities below, to include each party to
this action as well as other persons or entities who are not parties to this action,
caused or contributed to Plaintiff’s injury and damages, then it is necessary for you
to determine the percentage of fault for each. If you find no fault, then you should
place a “0” by that name. Your allocation of fault must add up to 100%.

             _____%       Jhordyn

             _____%       Northbrook

             _____%       Jhordyn’s traffickers at United Inn and Suites
                          their accomplices

             _____%       The men who purchased sex from
                          Jhordyn at United Inn and Suites

             _____%       Stone Mountain Inn and
                          Suites and associated corporate entities

             _____%       Jhordyn’s traffickers at Stone Mountain Inn
                          and their accomplices

             _____%       The men who purchased sex from Jhordyn at Stone
                          Mountain Inn
TOTAL:      100 %


[If Court finds that TVPRA allows for award of punitive damages]

INSTRUCTION: Proceed to Question #9.

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       9.    Do you find that Jhordyn proved by clear and convincing evidence that
Northbrook’s actions showed willful misconduct, malice, fraud, wantonness,
oppression, or that entire want of care that would raise the presumption of conscious
indifference to consequences?

             Answer “Yes” or “No”

             ____ YES                  ____ NO


      This is our unanimous verdict, reached on the ___ day of _______, 2025.

                                       ___________________________
                                       Foreperson




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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

J.G.,                                         )
                                              )
        Plaintiff,                            )
                                              )      Civil Action File
v.                                            )      No. 1:20-cv-05233-SEG
                                              )
NORTHBROOK INDUSTRIES, INC.,                  )
d/b/a UNITED INN AND SUITES,                  )
                                              )
        Defendant.                            )

                     DEFENDANT’S PROPOSED VERDICT FORM
                 (VERSION #2: WITHOUT APPORTIONMENT)
      1.    Do you find that Jhordyn was a victim of sex trafficking at United Inn
and Suites?

               Answer “Yes” or “No”

               ____ YES               ____ NO


      2.    Do you find that Northbrook participated in a venture with one or more
of Jhordyn’s traffickers at United Inn?

               Answer “Yes” or “No”

               ____ YES               ____ NO


      3.     Do you find that Northbrook knowingly benefited from participation in
the venture described in Question #2?



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            Answer “Yes” or “No”

            ____ YES                 ____ NO


      4.    Do you find that the venture described in Question #2 above caused
Jhordyn, a minor, to engage in a commercial sex act?

            Answer “Yes” or “No”

            ____ YES                 ____ NO


      5.    Do you find that Northbrook knew or should have known that Jhordyn
was a minor?

            Answer “Yes” or “No”

            ____ YES                 ____ NO


      6.    Do you find that Northbrook knew or should have known that the
venture described in Question #2 above caused Jhordyn to engage in a commercial
sex act?

            Answer “Yes” or “No”

            ____ YES                 ____ NO


INSTRUCTION: If you have answered “Yes” to all of Questions ##1 through 6
above, then proceed to Question #7. Otherwise, STOP HERE, and have the
foreperson sign the verdict form. You do not need to answer any further questions.

      7.    Do you find that Northbrook caused any injury or harm to Jhordyn?


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             Answer “Yes” or “No”

             ____ YES                  ____ NO


INSTRUCTION: Proceed to Question #8 below. If you answered “No” to
Question #6, then enter Zero (“0”) as your answer to Question #7.

       8.    What amount, if any, do you award to Jhordyn to compensate her for
injury or damage that Northbrook caused her?

             $ ______________________


[If Court finds that TVPRA allows for award of punitive damages]

INSTRUCTION: Proceed to Question #9.

       9.    Do you find that Jhordyn proved by clear and convincing evidence that
Northbrook’s actions showed willful misconduct, malice, fraud, wantonness,
oppression, or that entire want of care that would raise the presumption of conscious
indifference to consequences?

             Answer “Yes” or “No”

             ____ YES                  ____ NO


      This is our unanimous verdict, reached on the ___ day of _______, 2025.

                                       ___________________________
                                       Foreperson




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